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                    Exhibit 164
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                                      Er Dttainees
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      lEnglishl Palcstlnian Natlonal Authority                              [Emblem of the                      [Arabicl Palcstinian National Authorlty
      Minlstry of Dctalnccs & Ex-dctalnscs Affrirs                       Palestinian Authorityl            Ministry of Dctalnees & fxdctainccs Affairs
      Gcn. Dep. Detainccs & Ex-dctainccs                                                                            Gen. Dcp. Dctaine€s & Exdetainccs



                                                                        Main Prlsoner Form 32061 [illegible]                                        Arrest

      Form no,:
      Form lssuance date:           t.28.2016                         Minlstry's administration/branch:                 Jerusalem


  1. Easlc information concernlng the prlsoner:

      lD no. {9 dlelts}                                                                                1                 I               7             7
      Four-part                    First name                       Father's name                    Grandfather's                      Famlly name
      name                                                                                              name
                           Bilal                          Omar                                     Mahmoud                      Abu Ghanem
      Mother's             Ataf                                                                    Gender:                                      i: Female
      name:
      DoB:                                  7994                                                   Place of                             Jordan
      Education            D lllitcretc         D                                school        I                  n                    il Hlghcr education
      Profession           Student                                                                 Organizatlon:
      prlor to arrest:
      Arrest date;         10/L3 / 2015                                                            Place of arrest:          Eshel
      Arrest status        ! Detained           E                     O Admlnistrative                            E Free                     n Other
                                                Sentenced
      ln case of life      DaY              Month Year                Expected release date                       Dav           Month        Year
      sentence                                                        according to verdict:
      according to
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      tcRc
                                                                                                                                                                  @
      Certificate
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      Permonont            Governoratc:              Jcrusabm         Rcrldcntial conrplex;                       Rcdacted
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      resldence:
      Notes:


  2. lnform.tion conc€rning prGviout      rrr.ttr:       1      , only thote rtterted to by ICRC ccrtlficater, in chronologicel ordcr from n€w.rt to oldcst.


       No.      Arrest date           Arrest type             Release date                Arrest oeriod                                 Notes
                                                                                Dav            Month       Year
      7.       9.1.2013             SecuritV              L0.5.20L4
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CONFIDENTIAL                                                                                                 SHATSKY.JDO1934-T

 [EnSllsh] ?alcstini.n Natlonal Authority                       l[mblem of the                [Arabic! Palcstinian Natlonal Authority
 Ministry of Detainees & Ex-detainees Affairs                Palestinian Authorityl      Ministry of Detainees & Ex-detoinees Affairs
 Gen. Dep. Detainees & fx-detalnccs                                                               Gen. Dep, Detalnees & Ex-detalnees



3. Soclal Status lnformation:

 Marltal Status:             'n Sinele'                   E Marrled                   D Divorced               D Widow
 lf Married:                 ffit.            of spouse and children
 Spouse's lD No.                                                        Marriage Contract Date                     t/
 Spouse Name                                                                          Number of Children:
 Data on children from first wife: {sons under 18, unmarried daughters of all
 No.    Name                                               DoB          Marital Status Education
 1.
 2
 3
 4.
 5.
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 7
 8.
 9.


4. lnformation of Authorized Representative {Beneficiary}:

                 ID:                                                                       z          2            3            4
 Authorized                          Ataf Ali Abu Ghanem                                           Relationshlp:       Mother
 Representative -
              Name:
 Date of Authorization if                 I     /                        Authorizatlon's Period of Validity:
 Available:
    Bank:                            Reda cted                           Bank Branch;                              Redacted
 Account No.:                                                                  Redacted
 Landline Phone No.:                                                     Cell Phone No.:
 Permanent Beneflclary's             Governorate:        Jerusalem       Resldentlal complex:
 Address:
 Notes:


    Aoplicant's Notes:
    Confirmation:                I the undersigned confirm and testify that all of the information provided in this
                                 application is corr€ct and I take responsibility for it.
    Applicant's Signature:


2

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   Case 1:18-cv-12355-MKV-DCF Document 177-25 Filed 05/16/22 Page 7 of 123




         CONFIDENTIAL                                                                          SHATSKY-'D01938-T



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         At tm Jcrusaltm District      Court                         SGdo$ Criminal Casc 19669-11-15
         BGtorG a tlrnG-nran pan.l



                                                         Thr Statr ot lsrarl
                                                            vra lhe Dlistrict Atorney, Jerusalem Regim
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                       gtptnmcnt                                                          Th. Plainrid:
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                    ior tt!31 Afialc
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                                                         Bilal Abu Ghansn
                                                             FalHs narne: Omar
                                                             lD No.Redadedll lTT
                                                            Date of Bith*1904
                                                            Jad Multabbir, Jerusi$em (cunently in detentirn)
                                                                                               The D.fsndant


                                                            lndictlrnt
         Tln defendant is hereby i.dicted as to[or^/s.
                                                            Backnruund
             1. Begirrdng at the end ol Seplember 2015. agnhst ttn baclqroilnd d conlinuing re{}gjous and
                  natirnafislh tensions, and amor€ other things, in rclation to the Tempb illolnt com,plex h Jerusalern,
                  a wav€ of vident and mutd€rous tenor attaclG agairlst inflocent Jewish cillzens and seclcity p€rsonnel

                  swepl tie ccrntry. Every day. Arabs - rno$tfy youth, and oflen even minors - atlack JewisJr passersby,
                  tvomen, rnen and children, and secufity personnel, with cdd ueeapo{ts {kniv€€. axes, elc.) xrd hot
                  l}eapons, in ofder to rurder them (hereinaner: lhe Wave of Tenor).
             2- As a re$Jlt of the Wav€ of Terror. by the dale of the fling of the ifldictrnent, more lhan len citizens and
                  secwity persoflnel have beefl mufdered. and many (bzens inF ed, sorne sefloltsly.




                  lline clJt ofil                                                              PAGE 02'15
         CONFIDENTIAL                                                                          SHATSKY-'D01938.7
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  CONFIDEI{TIAL                                                                         SHATSKYJDOI93g-T


                                                          2.


     3- Ttn Deferxtanl, as will be rl€scfibed below in the irdicttnent commitled lnat wltich is aitrbuted to iim
        as pari of tie Wave of Tenor ar:d in ilder lo ait the enemies d lsrad in thelr fight agEinst it.
     4. On 6.22.1989, the Hanlas organizatinn nras declared a teror organizalion in a go,efrcnent decision
          in accordance wifr its authority accuding to the Tenori$n Prevenlion Ordhance - 570S1948
          (hereinafter. Hamas).
     f. Starthg in the beginning of March 2013, lhe Deftndant was a menser ot ttle Hamas organizalion,
          and began hb ectivities iB The lslamh Bloc, wtrich is s!€ stu{lent oluffiizatiofil of l-lamas - that ltad
          been dechrcd an urSawtul assof,ialion by the Minister of Delerse. The DeFrdant supported tne
          Hat&as trglnizafion sirrce lhen and xntil the date he sxeflted th*' which b attrlbuted to him in the
          indictment.
      6- The faLls list€d in ttrc bachground of the indictnent corstitule an integral parf d this irxlic{gffinnstrase :tan}'l
                                                                                                     o*t'*oo'*#tn-YH:::
          A-TheFaGts:                                                                                 *n"ratDef"rffia*a

      7. The Deferdant is a sfi1dent of lslam and Sharia in the Abu Dis Co$ege, lives with his parents ilH*'
          Jabl Mul€bbir neigtrtboftM of Jerusalem {here}nafter: the NFighborhood) and has a iob selling
          cochtails in ule l.leighborhood (herehafter: fie Store)-
      g. Tbe Defendant has Ir hb posseasion a silv€r Honda moped, liceBse plate rilmber W:187-78
          {herehaner Elg MopGd}.
      g- Tl€ Defen(lant had a pfior acsraintance with Babaa Alyan (hereinafier: Banaal, wno also liv€d in the
          Neigfrborhood and worked in a printing shop in trle Neighbothood (ilereinanen tfia Pfint shop).


                                           The preBaratisls for murdel


                  The eonn€ction and preparation tor a murdero{rs. nationalistic terror altac*


      10. On $e night of 10.12.2015, al a time not exactly lfio/vn to the Plainfn, Bahaa came to the Store antl
          totd the Defendantthat he has in his possession a sum of NlS20,m0 which was b !e Lsed to purclra$e
          a gun wilh u,hich fie wmletl to execuie a tentr altach agahg Jflts (hereinafiel: lhe T€rror Attack).
          The Defendant bld Batraa fiat if he mfiaged to get a grun, ttn Defendar* wodd particirate in the
          Tenof Attack with ilm- The D#rdant aM Bahaa talk€d about tne 'b,reacfiinEE af Al-Aqsa," ard how




  [Line cutcff] YAACHAK                                                                  FAGE03/15
  CONFIDENTIAL                                                                           SHATSKY-'D01939-T
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                 lhe setUers were fiilIdering little cfiildren. On the above-mentioned b*b, the two agreed to execute
                 a fixJrderous netionalbth TenorAileck against Jews h which they sould use
                 a gun and a lmiE.
           1   1. ln the course of that same evening, Bdraa rlruve b the Abu Dis neigFrborhood and plrchffied an FN
                 pistol (hereinafter ttre Pisfo{ for the sum of N1S20.000 fiorn a weapons dealer wfnse identity is
                 un*noyvn to tlte Plaintitr
           12. On 10.13.m15, at a time that is no{ exacfly lmown b the Ptaintifr arourd 10:30, Bahaa ctrne to the
                 Store and noticed a lmife with a bng, shery blade (hereinafter: lhe Knit ). Balaa noted to the
                 Defendaflt that the knile ulas suitable br tfie execution of lfie Terw Attack, took it and blt ttre Stole
                 wftile finafizing wilh the Defendant tlat trc uruuld cone to the Pint Shop. Ttr,e Defendant waited
                 appfoxinntely ten minutes and then lefl the Store end rffilked on fost lo the Prir{ Stlop.
           13. \IVhen the Defendant reached the Print Shop, Bdna shourcd him fie Pisbl and said thal ttrc cartrilge
                 of the Pistd mntainerl fourteen bunets- The Defendant took lte Pislol and Balua explained to tfie
                 Defefidant lnllv to rebase the saf€{y catch ancl use it for the pwpose of carrying out lhe Tenor Attack-
           14. The De'ferdant put the Pbtol in his panls close to his bfi hip, anJ Batuaa iook tie Knife arul put it an
                 his pdlts, dose to his hip. A{ter lhey anned themselves wih ule Pistol ard the }oife, the two left tre
                 Rint Shop in ofiterto carry outtheir rrurlaous plan.
           15" The Defendar* artd Bahaa gnt onto the Moped, wilh the Defendant drive and Balna sifting behind
                 him,and they trove in lhe direction of tE Anrpn Hanatziv rFighborhood in Jerusalem. The Defendant
                 paked lhe Moped d the neighbortood heelth tuff1 located near lhe Annon Hanabiv neqhboftmq
                 arld trte tuo uralked to Anilon Hanaaiv" The tvuo decided Setwsen therselves that trey wouH muftter
                 Jewish passengeE ridhg on a bus.
           16 Tbe Detendant and Balna waibd at a bm stop for a bus to come, in order to get on the bus antl
                 execute there lfn TenorAilach_


                                                  IIe murderous Teffor Attack

           17- Vvhen fie 78 bts going lolYards the center of Jerirsalern came. fte tuto got on lhe bus, $,tricfi rras
                 erFty of all passeflgeri exceptforlhe bus rfiverYZ- {hereinafier: ttre Bus Driv€r). Thetun sat down
                 in the middle d the bus wititoul paying for their ri<le, wtrile promisirg Yisrael lhat lhey rrror.rtd pay smn,
                 arld miterl for l]x)re passergers to get on in sderlo mwder them with fie Pistd and lhe Knife,
                        stemPl
      lA{ablc hnguage
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     CONFIDENTIAL                                                                               SHATSKY- JDO1S4{FT
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     18" yisfael continued driving for arotlnr sevefel stops. rulir€ wiich Alon Andrci Govberg {nereinans:
         Alon of bl6sed mBmory), Rirjrard LaKn {hereinafier Richad of blsssed memory}, Haviv Chaim
         (hereinafter HaviY of Hessed memory), hb wife - S.H., lll.O, il|.R.' i.Ail" All-' L.A', artd other
         pass€ngErs {hereinafier, all of ftem togelher: the Passengc.sl go{ on the bus.
     i 9. Uvhen the bus reached fte jilnctim of Olei llagmdun and Barazani Streels, tfn Defentlant and Batlaa
         looked each olher in the eye and Bahaa signaled to lhe Deferl(lant io begin l(llirE Passengers,
     20" Tlre Defendanl pulled oul tlle Pistd, tur$rt to tre back of the hus, and ftred at lhe Passengers from
         close iar{e tonrard their neads and upper bodies in ordel to caLse lhek deeths. At the same tirle.
         Bahaa pulled out fire lftite, appDacherl the PffisengErs sitting h lhe trtrlt of the bus and begran
         siabbinE them maDy times in all pats o{ their bodbs, and especially in the upper pans of their bodies,
         in order to cause lheir dealhs.
     21- TtB Driver, wtlo noticed what wm happening, stopped file bus and tried to open its doors to eEable
         the pffisengers lo flee. Yisrael fled the b|.rs but lhe DefeBdant and Bahaa closed the doors aller him
         in order to cause the death sf as rnarry Passengers   s possibts-
     22. Tlrc Dderdant siot alt lhe trnmmition be had et tne Passerqers on the hus and Sahaa sbbbed 6
         mffiy Passengeni as Ie could.
     2B- Durilrg the incident, tlre Defenclant strot, annng others, one bulet into the ileacl d Haviv of blessed
         mernory, six bullets into the upper body ol Abn of blessed menry, one bullet inlo the head of Richard
          of bbssed memory, arxl lvto bullets into the stornach and light hafid of 5-H-
     24. Durlng lhe incidefil, B*taa slabbed, among others, Alon ot blessed memory four tinFs in the st(}rnach,
         Richtrd of blessed memory h his stomach, M.R. in iler bacl( aIXl M.O. severd times in her snodder
          arxl chest.
      2b. lMren the Deferdant Rnished sbmting aH the trullels in the certrilge, vvfiile Bahaa was sbbbing
                                                                                                            point.
          Richard of blessed rnemory, ti|e blde d the K1rite bfoke and was lelt stuch in his botly. At this
          Bahaa took the Pislol out d tie Defendanfs harss and one of tte trruo staded c]dilng R-A.M. in or#r
          to murder nam-
      26" Bonbf police and olher police offcefs wno had been called lo ltrc sc€ne afier receiving a reptrt on
          the police commuil6atbns nehilork, anived at lhe scen€ at lhis lirne. Bdlaa aimed the empty Pistol at
          lhe police offcers, whfl shot him to rbalh end $rutr$ed the Defefflant in his cllest.
      27. As a result of the shmling ancl the stabbhg executed by fre Def€rdant trld Bahaa, lhe lus
          Passengers sufered, among o&et5, the folbwing injuries. lArebkhnsurreitamp']
                                                                                              Dsportment
                                                                   Detrinecr S Ex-Oetilneet
                                                                                03-tl3-?016
                                                                                              Legsl Afialtt
                                                                    GtEeral D€Frrtfisntfur



   tlirn cutdll YAACHAK                                                         '"?#ilPAGE 05/15

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                                                                                                               .28
             a. Abn of blessed rnentory sufiered many gunshd and slab wounds to his upper body $at caused
                 sevete blood loss" Alon of blessed mermry vras ldlFd on rle spol.
             b. Haviv of bFssed rlElrnry sutfered a head wourd and rnany stab nnjnds to his upper body that
                 caused hFn lo lose a large afinunt of blood. Hayiv of Sessed mernory died ol has womds tiat
                 sarne day in the hoepitat"
             c. Richafd ol blessed tnernory sufered many sounds to his head and inlemal orgarls that calsed
                 sev€fe uood loss. qt fi.27.2015, Riched ol blessed mernory di€d of his wounds.
             d. S"H- sutrered gunshol norr{s to her stomacfi and right arm that caused inlemal bleedlflg and a
                 severe bbod loss, and she needed life-savir€ suq;ery mtler gercral anesllnsia and many units
                 ofUood.
             e. M.O- sultered tnany st& umJnds to her upper body, amoql them a lear of her rlgtlt luflg, and she
                 needed lite-saving tredment mder generd aneslhesia and a ch€sl drain.
             f. M.R. sufered a nourd to her bact and a lear of her dght lilng and needed stitches ild a drain.
             q. The rest of itle Passer€ers on lhe bus suftered psyctslogicd arulety injuries. lA,1tltr t.nsu:sr nrme:l

         29. Through his above-staled   actions.                                               '"o'*oot;]f$ffiDeoartmcnt
                                                                                                         *lilllf r.s.! Ar'ri*
                                                                                                u"*,,,
                                                                                                           lndidmcnB
             TIF DetelUant ifltentiondly caused the <leattrs of lhree people withqJt any prbr ptovocation, in
             circunFlances in which he mub tuve lhurght thmugh ard urderslood lhe cansequerrces of his
             actirns, and aleninards prepared hinself to kill them, The Defendant also unlawtully attempted to
             cause the dealhs ol seven other people.


  B. Slrlfllow olovasions undo] which th. D.fcnd$tt is baino charocd:
  '1.   tlurd.r - an olfense pursuant lo seclbn 30o{ax2} of th€ Penal Law of 5737-1977 {hereinaRer: thG Law} -
  3 counts.
  2. Attompted ilurd,er - an ofrense pursuant to section g)b(1) of the Law - z counts,


  C. llrltn.srca fgf th" Pros.ctrtion:
  t. S€rgeanttvlaJor'Iirntr Shakq Personal lD No. *'16457, special Tasl(s tlept, J€tusalern, lsrael police
  {G.H.)
  2. S€rgeanl-fvlajor Ala Tatela, Personal lD No*-16028, Special Tasks Depl. Jerusalem, lsad trolice
                                                                                                               {G.H.)



  llrne uX ofl                                                                           PAGE 06/15


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                                                     TO WHOM IT                        CONCERN                                                     I t1-g-
                                                                                                                                    , gl-t


   CICR                   This attsstatlon ls valid only if lhe Engllsh and Arablc parts match each other



            Acc,ording to the inforrnalion received from the lsraeli Authorities, the I                                         the Red
            Cross attesls thal:


            Mr:           BILAL OMAR MAHMOUD ABU.GHANEM                                                    tt6gc
            From:         EASTJERUSALEM                                                    ID NO:



            Was arrested by the lsraeli Authorities on (ddlmm/yyyy)
                                                                                                                                                             )
                                                                                           13.10.201

            He is to date: Awalting Trlal




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       Date: 24.01.2016                                                        B
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       Place: JER /AHA

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CONFIDENTIAL                                                                                                                                       SHATSKYJDO192s
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CONFIDENTIAL                                                                                                                                      SHATSKYJDO1S29
                                                                                                                                             'r:-\i{
                                                                                                                                    ..- .i

                                              TO WHOM IT MAY CONCERN



CICR                  This attestation ls valld only if the Engllsh and Arabic parts match each other



                                                                                                                 Cornmiftee of the Red
        According to the informalion received frorn the lsraeli Authorities, the lnternational
        Cross attests that:


         Mr;          BILAL OMAR MAHMOUD ABU.GHANEM                                                                         \t8 o
                      EAST JERUSALEM                                                 lD NO: Redacled,1l77
         From



         Was arrested by the lsraeli Authorities on (dd/mm/Wyy): 13'l
                                                                                                                                                            ,
         He is to date: Awaiting Tdal




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       Date:24.01.2016
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        Place: JER IAHA
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                                             TO WHOM IT MAY CONCERN
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 CICR                 This attestatlon is valid only if the English and Arablc parts match each other



         According to the informalion received lrorn the lsraeli Authorities, the lnternational Committee of the Red
         Cross attests lhat:


         Mr:          BILAL OMAR MAHMOUD ABU-GHANEM

         From:        gASTJERUSATEM                                                     lD NO: RedactedllTT



         Was arrested by the lsraeli Authorities on (dd/mm/yyyy)                        't3.{

         He is to date: Awaiting Trial                                                                                                                       ,
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                                            TO WHOM IT MAY CONCERN                                                                                             ,-)
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 CICR                 Thls attestation ls valid only if the English and Arabic parts malch each other



         According to the information received frorn the lsraeli Authorities, lhe lnternational Committee of the Red
         Cross attests that:


                      BILAL OMAR MAHMOUD ABU-GHANEM
                                                                                                                 Redacled


         Fromr        EASI JERUSALEM                                                                    ID NO:



         Was arrested by the lsraeliAuthorities on (ddlmm/yyyy): 13.10.2015

         He is         Awaiting Trlal                                                  ..'-    '/                                                                        )
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                                            TO WHOM IT MAY CONCERN



 CICR                  Thls attestatlon is valid only if the Engllsh and Arabic part$ match each other



         According to lhe information received from the lsraeli Authorities, the lnternational Commitlee of the Red
         Cross attests that.


         Mr:           BILAL OMAR MAHMOUD ABU-GHANEM

         From:         EAST JERUSALEM                                         lD NO: R"dn.t'd1{27



         Was arrested by the lsraeli Authorities on (dd/mm/yyyy):              t 3.10.20{5


         He is to date: Awaiting Trial
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         Case 1:18-cv-12355-MKV-DCF Document 177-25 Filed 05/16/22 Page 24 of 123
CONFIDENTIAL                                                                                                                                  SHATSKYJDO'942




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Case 1:18-cv-12355-MKV-DCF Document 177-25 Filed 05/16/22 Page 25 of 123




                    Exhibit 165
                   Case 1:18-cv-12355-MKV-DCF Document 177-25 Filed 05/16/22 Page 26 of 123




                                               Prisoner Sala   Statement
 Prisoner no. 3206'1
 Prisoner Name: BilalOmar Mahmoud Abu Ghanem            Document no. 086931177
         Year Beneficiary                      lD nc'      Bank Name             Branch Account no.     Salary




                                               Redacted




                                                          Page 1 of2

Confidential                                                                                  Shatsky-JD00529-T
                      Case 1:18-cv-12355-MKV-DCF Document 177-25 Filed 05/16/22 Page 27 of 123




                                               Prisoner Sala   Statement
Prisoner no- 32061
Prisoner Name: Bilal Omar Mahmoud Abu Ghanem            Document no. 086931 177
Month Year Beneficiarv                         lD no.       Bank Name             Branch   Account no.     Salarv




                                               Redacted

4        2420   Ataf Ali Abu Ghanem                 2234
5        2020   Ataf Ali Abu Ghanem                 2234                                                   4 535.00
6        2020   Ataf AliAbu Ghanem                  2234
7        2020   Ataf AliAbu Ghanem                                                                         4 635"00
8        2020   Ataf AliAbu Ghanem                  2234                                                     635.00
I        2420   Ataf AliAbu Ghanem                  2234
 10      202A   Ataf AliAbu Ghanem                  2234
 11      2024   Ataf AliAbu Ghanem                  2234
 12      2024   Ataf AliAbu Ghanem                  2234
 1       2421   Ataf AliAbu Ghanem                  2234
2        2021   Ataf AliAbu Ghanem                  2234
3        2021   Ataf AliAbu Ghanem                  2234                                                   4 35.00
4        2021   Ataf AliAbu Ghanem                  2234                                                   4 635,00
5        2021   Ataf AliAbu Ghanem                  2234                                                      35.00

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Case 1:18-cv-12355-MKV-DCF Document 177-25 Filed 05/16/22 Page 28 of 123




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     Case 1:18-cv-12355-MKV-DCF Document 177-25 Filed 05/16/22 Page 30 of 123




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Case 1:18-cv-12355-MKV-DCF Document 177-25 Filed 05/16/22 Page 31 of 123




                    Exhibit 166
 Case 1:18-cv-12355-MKV-DCF Document 177-25 Filed 05/16/22 Page 32 of 123


CoNFTDENT|AL 3loosz                                                                                                       SHATSKy-JDO1918-T
                                                       8170                                 Civil[*] Police
  IEnglish] Palestlnian Natlonal Authority                         [Emblem ofthe           lArubic] Palcstinian National Authorlty
  Ministry of Datainccs & Ex-dctainees Affairs                  PalestinianAuthorityl Ministrv.t n^' '          tdctainees Affairs
  Gcn. Dep. Dctalnecs & fx-dctalnecs                                                                   National Authoritv       res & Ex-detalnccs
                                                                                         Palestinian
                                                                               lStamp:

                                              Maln PrisonerForm :1f;:Jtt"ttinees&Ex-detainees
                                                                                Checked
  Form no.:                                                                     lndictments
  Form lssuance datc:         3.1S.2011                    MI          admlnlstratlon/branch:                Sethlehem


1. Basic information concerning the prisoner:

 lD no. {9 digits}                                                                          5                 9                I                  4
 Four-part
 name:
                      Hilmi
                           Flrst name
                                                   -T Father's name

                                               Abd Al-Karim
                                                                                         Grandfather's
                                                                                             name
                                                                                       Muhammad                      Hamash
                                                                                                                              Famlly name


 Mother's                                                                              Gender:                       EMale i Female AI
 name:
 DoB:                             77                                                   Place of blrth:
 Education            fl lllitcratc                                   school       E                   E Unlvcrsity          fl Higher educrtion
 Profession           Civil servant / Police                                           Organization:              Fatah
 prior to arrest:
 Arrest date          3/ e / 2Oo4                                                      Place of arrest:
 Arr€st status:       E Detained     IE Sentenced                E Admlnistratlve                      ! Free                      fl Other
 ln case of life      Dav        Month Year                      Expected release date                 Dav           Month         Year
 sentence                                      Life term         accordlng to verdict:
 according to
 lcRc
 Certificate
 Permanant            Governorate         Bcthlchcm              Residential cornplexl                 Reda cted
 residence:
 Notes:


2. lnformation conc.rning pravious rrt.sts:    x    . only thorc ettcatad to by lcRc c.rtific.tes, in chronologicrl       order from n.w.st to
oldcrt.

  No.      Arrest date        Arrest type      Release date                 Arrest period                                    Notes
                                                                     DaY        Month Year
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 3
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 6.



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CONFIDENTIAL                                                                                                              SHATSKY.JDO1918-T
 Case 1:18-cv-12355-MKV-DCF Document 177-25 Filed 05/16/22 Page 33 of 123

CONFIDENTIAL                                                                                            SHATSKY-JD01919-T

 IEnglishl Palestinlan National Authority                  [Emblem of the                lArabicl Palestinian Natlonal Authority
 Ministry of Detainces & Ex-detainees Affairs           Palestinian Authorityl      Ministry of Detainees & Ex-dctainces Affairs
 Gen. Dcp. Dctalnees & Ex-detalnees                                                          Gcn. Dep. Dctalnees & Ex-detalnccs



3. Social Status lnformation:

 Marital Status:          E Sinele                   D Marrled                   El Dlvorced              OWdow
 lf Married:              Enter data of spouse and children
 Spouse's lD No.                                                        Marriage Contract Date /     /
 Spouse Name                                                                           Number of Children:
 Data on children from first wife: {sons under 18, unmarried daughters of all agesl
 No.    Name                                               DoB          Marital Status Education
 1.
 2


 4.
 5.
 6.
 7
 8.
 9.


4. lnformation of Authorized Representative (Beneficiary|:

 Beneficiary's lD:
 Authorized Representative        The prisoner himself                                         Relationship:
 - Beneficiary's Name:
 Date of Authorization lf          t/                               Authorization's Period of Validity:
 Available:
 Bank:                             Redacted                         Bank Branch:                               Redacted
 Account No.:                                                              Redacted
 tandline Phone No.:                                                Cell Phone No.:
 Permanent Beneficlary's           Governorate:    Bethlehem        Residential complex:
 Address:
 Notes:


 Applicant's Notes
 Confirmation:                  I the undersigned confirm and testify that all of the information provided in this
                                application is correct and I take responsibility for it'
 Applicant's Signature:


                                                                                                                          2


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       Case 1:18-cv-12355-MKV-DCF Document 177-25 Filed 05/16/22 Page 34 of 123




                 CONFIDENTIAL                                                                SHATSKY.JDOI922-T
                                                      Israel Defense Forces

                 In the Military Court                                  Court File:        104
                 Judea                                            Prosecution File:   1300104
                 Before a panel                                        Police File:   1619/04 Hebron
                                                                                      9891 /04 Jerusalem Special
                                                                                      Duties Department

                 In the case between

                                                        The military prosecutor

                                                                                                      - The Plaintiff-


                                              [Arabic: Hilmi]                     [Arabic: Hamash]
                                             Hilmi Abd AI-Karim Muhammad Hamash

   [Round stamp in                                        (detained since March 9,2004)
       Arabic:
Palestinian National
      Authority
                            ID No. ^"0'"t"05984, Date of Birth^^'"'.1977,resident of the Deheyshe Refugee Camp
Ministry of Detainees
  and Ex-Detainees
                                                                                                   -The Defendant -
       Affairs
     05.10.201I
Gen. Dir. of Detainees                                             Indictment
  and Ex-Detainees
       Affairs
      Checked
                          The above-named Defendant is hereby accused of committing the following offenses
     Indictments
                          First Count:

                 Nature of the Offense: Laying of a bomb, an offense pursuant to Regulation 58(b) of the
                              Defense Regulations (Emergency),1945; and Section l4 of the Criminal Liability
                                  (Judea and Samaria) Order (No. 225),5728-1968.

                 Details of the Offense: The above-named Defendant, within the Region, during 2003 or
                              thereabouts, placed a bomb with the intention of causing the death or injury of
                                  another person, specifically:

                                  At the above-named time, the above-named Defendant went with his colleague,
                                  Rami Kamil Musleh, while in possession of an explosive device made of a gas
                                  cylinder in order to place it against IDF forces.

                                  They both placed the explosive device on the main road leading to Deheyshe
                                  Refugee Camp in a place where military vehicles regularly passed.
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             When a military vehicle passed near the site at which the explosive device had
             been placed, the Defendant activated the explosive device, but the explosive
             device did not detonate.



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Case 1:18-cv-12355-MKV-DCF Document 177-25 Filed 05/16/22 Page 36 of 123




    CONFIDENTIAL                                                         SHATSKY-JDOI923-T
                                                                                                    2

    Second Count:

    Nature of the Offense: Membership in an unlawful association, an offense pursuant to
                   Regulations 85(l)(a) and 8a(l)(a) of the Defense Regulations (Emergency),1945.

    Details of the Offense: The above-named Defendant, within the Region, from early 2004 or
                   thereabouts, was a member of an unlawful association, specifically:

                   At the above-named time, the above-named Defendant joined a military cell of
                   the Al-Aqsa Martyrs Brigades through a member of the organization, Ahmed
                   Salah Ahmed Salah (code-named: Ahmed Abu Ghadab) (hereinafter Ahmed
                                                                                     -
                   Abu Ghadab).

                   The membership of the Defendant in the organization continued until the day of
                   his arrest.

    Third Count:

    Nature of the Offense: Shooting at a person or a place in which people may be, an offense
                   pursuant to Regulation 58(a) of the Defense Regulations (Emergency),1945; and
                   Section 14 of the Criminal Liability (Judea and Samaria) Order (No. 225),5728-
                   1968.

   Details of the Offense: The above-named Defendant, within the Region, in early 2004 or
                 thereabouts, was an accomplice in the shooting at a person or place in which
                   people may be, specifically:

                   At the above-named time, the above-named Defendant went with the fellow
                   members of his military cell, Ahmed rawfik raya, wail Khalil Faraj and Ahmed
                   Abu Ghadab, who was armed with a Kalashnikov rifle and a hand grenade, in
                   order to carry out a shooting terror attack against IDF forces in the DCo military
                   base. When they anived at the site, Ahmed Taya and Ahmed Abu Ghadab
                   alighted from the vehicle while possessing the weapons in order to carry out the
                   shooting alrack, while the Defendant and his colleague wail Faraj remained in the
                   vehicle.

                   After a few minutes, Ahmed Abu Ghadab and his colleague fired at a military
                   vehicle; thereafter the Defendant and his colleague fled from the site towards the
                   home of Ahmed Abu Ghadab.
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                 There, they waited for Ahmed Abu Ghadab to retum.

   Fourth Count:         (Police File 09891/04 Jerusalem Snecial Duties Denartment)

   Nature of the Offense: Intentionally causing death, an offense pursuant to Section 51(a) and
                7(c) of the Security Provisions (Judea and Samaria) Order (No. 378),5730-1970
                and Sections 14 and 2 of the Criminal Liability (Judea and Samaria) Order (No.
                 225),5728-1968.

   Details of the Offense: The above-named Defendant, variously inside and outside the Region,
                  on or around January 29, 2004, intentionally caused the death of another,
                 specifically:

                 l.      In early January 2004 or thereabouts, Abdul Rahman (Zuheir) Yusuf Abd
                         A-Rahman Miqdad (hereinafter: Abdul Rahman Miqdad) contacted
                         military oPerative

   CONFIDENTIAL                                                      SHATSKY-JDOI923-T




    CONFIDENTIAL                                                     SHATSKY-JDOI923-T
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    CONFIDENTIAL                                                            SHATSKY-JDOI924-T

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    [Translator's note: It seems that pages 3-9 of the original document are missing here]


           Redacted6614
    25.                   Naim Barzawi (details in the prosecution file).
           Redactedgl34
    26.                   Sarah Keisar (details in the prosecution file).

    )1     Redacted5395
                          Lidia Weiner (details in the prosecution file).
           Redaded
    28.              4362 Bahira Saadu (details in the prosecution file).

    29.    Lic. No. ^"3774 Dr. Kumber (medical documents related to Mr. Naim Barzawi).

    30.    Lic. No. ""+tst or. Michlevsky (medical documents related to Ms. sarah Keisar).
                       -"5068
    31.    Lic. No.             Dr. Yutkin (medical documents related to Ms. Bahira Saadu).

    32.    Dr. A. Wolf (medical documents related to Ms. Bahira Saadu).

    55.    Expert opinion of bomb disposal laboratory (to be forwarded later).

    34.    Medical documents.

   35.     List of casualties (institutional record).




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   CONFIDENTIAL                                                      SHATSKY-JDO1925.T

   Date: 3 Tishrei 5766                                                        Case No.: 2303104
   September 25,2006
                                '      Judea Military Court
   Before the Honorable Presiding Judge: Major Yair Tirosh
                              The Judge: Major Ze'ev Afik
                              The Judge: Major Amir Dahan

   The Military Prosecution
   (Represented by Captain Sagiv Lichtman)

                                                 -v-
                                                                              *"d""t"d5984/
    The Defendant Hilmi Abd Al-Karim Muhammad Hamash, Identity No.                            IPS
    (Represented by Adv. Osama Ouda)




                                             Sentence

    After having heard the arguments of the parties, we have decided to sentence the Defendant to
    the following:

    A.     Life imprisonment for intentionally causing the death of Avraham Balahsan of blessed
           memoIT.

    B.     Life imprisonment for intentionally causing the death of Hanna Bonder of blessed
           memory.

    C.     Life imprisonment for intentionally causing the death of Anat Darom of blessed
           memory.

    D.     Life imprisonment for intentionally causing the death of Yechezkel Goldberg of blessed
           memory.

    E.     Life imprisonment for intentionally causing the death of Vladi Tzadik Manbara of
           blessed memory.

    F.     Life imprisonment for intentionally causing the death of Viorel Octavian Florescu of
           blessed memory.

    G.     Life imprisonment for intentionally causing the death of the late Ms. Rose Boneh of
           blessed memory.
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    H.     Life imprisonment for intentionally causing the death of Dana Itah of blessed memory.

    L      Life imprisonment for intentionally causing the death of Roman Hondiashvili of blessed
           memory.

    J'     Life imprisonment for intentionally causing the death of Eli Tzfira of blessed memory.

    K.     Life imprisonment for intentionally causing the death of Natalia Gamril of blessed
           memory.

    An additional term of life imprisonment for the additional offenses of which he has been
    convicted.

   All sentences are to be served cumulatively to the effect that the Defendant will serve twelve life
    imprisonment terms, to be served cumulatively.

   The full explanation of the verdict will be given at a later date. Issued today, 10.25. 2006.



    [Stamp] Amir Dahan, Judge
                                       lSienaturel        l-S
                 Judge              Presiding Judge             Judge

    09.25.2006




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   CONFIDENTIAL                                                         SHATSKY-JDOI925-T
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                                                                                                                                    other


                According to the information received from the lsraeli Authorilies, the lnternational
                                                                                                                       Committee of
                the Red Cross certifies that;

                Mr            HELMI ABDELKARIM MOHAMMAD HAMASH

                From           BETHLEHEM                                                              lD NO: Redacted Sgg-4

                was arresled by the lsraeli Authoriries on (dd / mrn r yyyy):                     09.03.2004

                He is to     date:            Sentenced

                Length of sentence / administrative period : life sentence

                He/She was reteased on (ddlmm/yyyy)
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       C ICR                     This certificate is valid only if the English and Arabic parts match each other


           According to the information receiveC from the lsraeliAuthorities, the lnternalional Committee oi

           the Red Cross certifies lhat :
                                                                                                                                        o
           MT: HELMI ABDELKARIM MOHAMMAD HAMASH
           From: BETHLEHFM                                                                      lD NO: Redacted59S-4

           Was arrested by the lsraeliAuthorities on (dd I mm I yyyy)                        09.03.2004

           He is to date     :            Sentenced

           Length of sentence / administrative period : life sentence

           X"lJ'r. was released on (dd/mmlyyyy): XXXXXXXXXXXXXXXXXXXXXXXXXXXXXXXXXXXXXXX)


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                                          TO WHOM IT MA Y CONCERN

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         According to the inforrnation received from the lsraeliAuthorities,
                                                                                  the lnternational committee of
         the Red Cross certifies that :


         Mr:        HELMI ABDELKARIM MOHAMMAD HAMASH

         From        BETHLEHEM
                                                                                     lD NO.Redacted 5gg-a
        Was arrested by the lsraeliAuthorities on (dd I mm
                                                                    I yyyy)      09.03.2004

        He is to date   :            Sentenced

        Lenglh of sentence I adrninistrative period : life
                                                              sentence
        He/She was released on dd/m m/yyyy) : XXXXXXXXXXXXXXXXXXXXXXXXXXXXXXXXXXXXXXX}
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            According to the information received {rom the lsraeliAuthorities, the lnternational Committee of

            the Red Cross certifies that :

             MT: HELMIABDELKARIMMOHAMMAD HAMASH
             From : BETHLEHEM                                                                lD No'Redacreo 598{

            Was arresled by the lsraeli Authorities on (dd I mm I yyyy,:                  09.03.2004

             He is to date   :            Sentenced

             Length o{ senlence I administrative period : life sentence

            He/She was released on (dd/mm/yyyy): XXX$fiXXXXXXXXXXXXXXXXXXXXXXXXXXXXXXXXX)



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         According lo the inforrnalion received from the lsraeli Authorities,
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         the Red Cross certifies that        .




         MT: HELMIABDELKARIMMOHAMMAD HAMASH
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         Was arrested by [:c ;sraeli Authorities on
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         He is to late   .              Sentenced

         Length of sentence / adrninistrative period : life sentence

         He/She was released on ( ddlmm/yyyy) : X)fi XMXXXXXXXXXXXXXXXXXXXXXXXXXXXXXXXXX}




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    CI R                     This certificate is valid only if the English and Arabic parts match each other


        According lo the information received from the lsraeli Authorities, the lnternalional Committee of

         the Red Cross certifies that:


         MT: HELMIABDELKARIMMOHAMMAD HAMASH
         From: BETHLEHEM                                                                    lD N6RedactedlsgS-4

         Was arrested by the lsraeli Authorities on (dd I mm lyyyy)           :     09.03.2004

         He is to date   :            Sentenced

         Lenglh of sentence I administrative period : life sentence

         He/She was released on (ddlmm/yyyy): XXXXXXXXXXXXXXXXXXXXXXXXXXXXXXXXXXXXXXX)



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                    Exhibit 167
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                                                    Prisoner Sala   Statement
 Prisoner no.1722
 Prisoner Name: HilmiAbd Al-Karim Muhammad Hamash                   Document no. 901415984
 Month Year Beneficiary                           lD no               Bank Name         Branch   Account rn      Salarv


                                                                      Redacted



 4       2420   HilmiAM Al-Karim Muhammad Hamash                                                                3,056.25
 5       2420   HilmiAbd Al-Karim Muhammad Hamash                                                               3.056.25
 6       2420   HilmiAbd Al-Karim Muhammad Hamash                                                               3.413.71
 7       2020   HilmiAbd Al-Karim Muhammad Hamash                                                               3.013.71
 8       202A   HilmiAbd Al-Karim Muhammad Hamash                                                               3,013.71
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 10      202A   HilmiAbd Al-Karim Muhammad Hamash                                                               3,013.7'1
 11      2020   HilmiAbd Al-Karim Muhammad Hamash                                                               3.013.71
 1   2   2020   HilmiAM Al-Karim Muhammad Hamash                                                                3,413.71
 1       2421   HilmiAbd Al-Karim Muhammad Hamash                                                               3.013.71
 2       2021   HilmiAbd Al-Karim Muhammad Hamash                                                               3,013.71

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Confidential                                                                                          Shatsky-JD00505-T
                   Case 1:18-cv-12355-MKV-DCF Document 177-25 Filed 05/16/22 Page 56 of 123




                                               Prisoner      Statement
Prisoner no.1722
Prisoner Name: HilmiAbd Al-Karim Muhammad Hamash              Document no. 901415984
Month Year                                          no          Bank Name         Branch   Account no"     Salarv
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4       2421 Hilmi Abd Al-Karim Muham                                                                      3.013.71
5       2421 H                  Muhammad Hamash                                                            3.013"71

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Confidential                                                                                     Shatsky-JD00506-T
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Case 1:18-cv-12355-MKV-DCF Document 177-25 Filed 05/16/22 Page 60 of 123




                    Exhibit 168
    Case 1:18-cv-12355-MKV-DCF Document 177-25 Filed 05/16/22 Page 61 of 123



CONFIDENTIAL                                                                                                        SHATSKY-ID01764-T

    IEnClish] State of Palestine                                                                     [Arabic] State of Palestine
    Ministry of Detainees & Ex-detainees Affairs                  lEmblem of the            Ministry of Detainees & Ex-detainees Affairs
                                                               Palestinian Authorityl
    Gen. Dep. Detainees & Ex-detainees                                                           Gen. Dep. Detainees & Ex-detainees



3. Current Arrest lnformation:

    Arrest date:        7.17.2074                                                   Type of arrest:           El Security    ! Civilian
    Arrested from:      E Home tr Crossing EI Other                                 Current prison:
    Arrest status:      EI Detained        D Sentenced             E Administrative                 tr Other
    In case of life     DaY           Month       Year             Expected release date             Dav         Month      Year
    sentence                                                       according to verdict:
    according to
    tcRc
    Certificate
    Sentence date                                                  Release date
    Notes:


4' Information concerning previous arrests: Previous arrests: (Only those attested to by ICRC certificates)

      No.       Arrest type         Arrest Date       Release date            Prison                Arrest period                  Notes
             (security/civilian)                                                              Dav      Month Year
     1.
     2.
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     II.

5. Health Condition (of the prisoner\ex-prisoner)

    Do you suffer any illnesses?       DYes trNo                          The illnesses
    Date illness began:
    Do you suffer from disability      DYes trNo                          Type of disability /         UChronic ETemporary
    / handicap?                                                           handicap
    Disability/handicap                     o/o
                                                                          Disability attested to       IYes trNo
    percentage                                                            by a report:
    Medical report date:                                                  lssued bv:
    Notes:


3




CONFIDENTIAL                                                                                                        SHATSKY-JD01764-T
 Case 1:18-cv-12355-MKV-DCF Document 177-25 Filed 05/16/22 Page 62 of 123

CONFIDENTIAL                                                                                           SHAT5KY.JDO1765-T


 [Engllshl Statc of Palcstine                                                            [Arabic] State of Palestlne
 Ministry of Dctalnccs & Ex-dctainccs Affalrs            IEmblem of the         Ministry of Detalnccs & Ex-dctainccs Affeirs
                                                      Palestinian Authorityl
 Gcn, Dep, DcttinrG3 & Ex-dctainccs                                                 Gcn. Dep, Dctainccs & Ex-dctainccs



G. lnformation   Concernlng the Beneficiaries of the Prisoner/ex-Prisoner's Allowance:

A. First Beneficlary:

 Name {First Beneficlary}:       Ghada Atef Jum'a qawasme                                                    His wife

 Document Type:                                                                       Doc. No,                     6519
 Tel. No.:                                                                            Cellular Tel. No.:
 Governorater                    Hebron                                               Complex:
 Eank:                           Reda cted                                            Branch:                Redacted
 Account No.:                                                                                     Current account in shekels
                                                                                                  only
 ln Case the Sum is              No.                              Percentage:                %

 Divlded:


B. Second Beneficiary {lf Exists}

 Name {First Beneflciarvl:                                                             Relationship:
 Document Type:                                                                        Doc, No.
 Tel. No.:                                                                             €ellularTel. No.:
 Governorate:                                                                          Complex:
 Eank:                                                                                 Branch:
 Account No.:                                                                                     Current account in shekels
                                                                                                  onlv
 ln Case the Sum is              No.                              Percentage:                %

 Dlvlded:


 Applicant's Notes:
 Confirmation                I the undersigned confirm and testify that all of the information provided in this application
                             is correct and I take              for it.
    Appllcant's Slgnaturel


4



CONFIDENTIAL                                                                                           SHATSKY-JD01765-T
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   SHATSKY-JDO1 779-T                                                                                  CONFIDENTIAL


                                                     lsrael Defense Forces
   ln the Military Court                                                                     Court File:      114
   Judea                                                                                     Prosecution File: 3365/{4
   Before a panel                                                                            Police File: 259539/14


                                       In re: The Military Prosecutor - the Prosecution


                                                               l{:
   [Handwritten in Arabic] Hussam Ali Hasan eawasme
                                                                                          [Faded stamp in
   Hussam Ali Hasan Qawasme
                                                                                          Arabicl
   lD No Redacted 7866, born Redacted 1973, resident of Hebron
   detained since July 11,2014
                                                         the Defendant
                                                                                    lHandwritten in Arabicl Secuity
                                                           lndictment


   The above-caotioned Defendant is herebv indicted for committinq the followino offenses:


   FiFt Count:
   Descriotion of the Offense: Aid in infusing enemy funds into the region, an offense pursuant to Sections 3 and 7 to the
   lnfusion of Funds into the Region Order (Judea and Samaria) (No. 973), 5742-1gBZ, and Section(a)(3) to the Security
   Provisions Order [Consolidated Version] (Judea and Samaria) (No. 1651), 5750-2009.
   Details of the Offense: The Defendant, while in the region, in or around 2013, in Hebron or in proximity thereto, the
   Defendant aided in the receipt of funds of the enemy outside of the region or the infusion of enemy funds into the region
  without permit and in contravention of said order, to wit:
                   At lhe aforementioned time, the Defendant met with Marwan Sa'di Abdel Afu Qawasme (hereinafter:
  "Marwan) at the Defendant's workplace. Marwan asked for the Defendanl's assistance in securing funds from the Al-Nur
  Association, which is affiliated with Hamas, which is an unlavvful association. The Defendant agreed to help Maruan and
  contacted his brother, Mahmoud Ali Hasan Qawasme (hereinafter: "Mahmoud"), who is known to the Defendant as a
  Hamas operative, who was expelled from Gaza in the Shalit deal and works in the Al-Nur Association, which is affiliated
  with Hamas. The Defendant asked Mahmoud to help Marwan, and Mahmoud promised to do so.
                    Two months later, MaMan updated the Defendant that the funds were hansferred to him.


  Second Count:
  Descriotion of the Offense: Nature of the Offense: Provision of a service to an unlawful association, an offense pursuant
  to Section 85(1Xc) lo the Defense Regutations (Emergency), 194S.
  Details of the Offense: The Defendant, while in the region, performed any work or service for an unlaMul association, to
                    wit:
  At the aforementioned time, at the place stated in the First Count, the Defendant executed the activities set forth in the
  First Count. Thus, he performed a service for the Al-Nur Association, which is affiliated with Hamas, which is an unlawful
  association.


  Third Count:
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  Description of the Offense: Intentional causation of death, an offense pursuant to Section 209(a) to the Security
  Provisions Order [Consolidated Version] (Judea and Samaria) (No. 1651), 5770-'1982, and Section20l (aX2) to the Security
  Provisions Order [Consolidated Version] (Judea and Samaria) (No' 1651)' 5750-2009.


  another person, to wit:
                      1   . ln April 2014, the Defendant met with Marwan. Marwan and the Defendant discussed the difficulties
                             of palestinian prisoners in lsrael, and Marwan expressed his desire to work toward their release.
                                                                  1


  SHATSKY-JDo177g-T                                                                                       CONFIDENTIAL
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   SHATSKY-JDO178O-T                                                                                  CONFIDENTIAL
                                        Hussam Ali Qawasme.jpg Statementooo3

                                                                                             lln Arabicl September 8, 2014


                       Marwan offered the Defendant to join him in executing a kidnapping of a Jew in order to bring about
                       the release of Palestinian prisoners
                       incarcerated in lsrael. The Defendant assented.
                  2. The Defendant indicated to Marwan that abducting a Jew for purposes of bargaining is a most
                       complicated matter and there is a chance that such an operation would end in their arrest and the
                       death ofthe hostage. He also noted the past cases of Nachshon Waxman and Nissim Toledano,
                       of blessed memory.
                  3. Marwan replied to the Defendant that they would make sure to execute the kidnapping attack
                       without getting caught and they would succeed in using the hostage as a bargaining chip for a
                       prisoner release deal.
                 4. The Defendant and Maruvan met a few more times, in Hebron, at which meetings, they planned the
                       details of the abduction.
                  5. The Defendant made up with Marwan that they would maintain great secrecy in their operations
                       as well as instructed Marwan to recruit others to their cell to assist them in executing the
                       kidnapping. Marwan agreed with the Defendant and told him that he had already recruited another
                       person who would help them.
                 6. Manaran and the Defendant planned additional details of the kidnapping. The Defendant raised the
                       issue of vehicles and said that the kidnapping should be executed through the use of a number of
                       vehicles: the first vehicle, which would be used for the abduction that would bear yellow license
                       plates and would be destroyed at the conclusion of the kidnapping as well as a second vehicle,
                       which they would use for escape after they destroy the abduction vehicle in order to cover up their
                       tracks.
                 7. TheDefendantandMaManagaindiscussedthemannerofthekidnappingandagreedthatitwould
                       be executed through the use of a number of vehicles, as the Defendant instructed.
                       The two discussed how the abduction vehicle would be destroyed and decided that it would be
                       destroyed by buming.
                       The two discussed the location of the kidnapping and decided that the kidnapping would be
                       executed in Gush Etzion because of its proximity to Hebron.
                       Similarly, the two discussed places to hide the hostages and the times at which they would be
                       lransferred from one hiding place to another, and they set aside two designated hiding places in
                       the Hebron area.
                 8. After the two finalized the various abduction details, they divided the tasks amongst themselves:
                       Maran would be the one that would set out in a stolen lsraeli vehicle in tandem with the third partner
                       and kidnap the Jew as well as be in charge of obtaining the vehicle, and the Defendant would
                       constitute the "command center level." He would finance the terror attack, supply the required
                       weapons for its execution, and supply all that was necessary for hiding the hostages after the
                       abduction, including supplying food and drink to the hiding place. lt was also agreed that the
                       Defendant would bear the responsibility for securing the hiding place of the hostages by
                       reconnoitering and guarding against the arrival of security forces at the place.
                 9. The two set out to perform the preparations for the terror attack as they agreed. The Defendant
                       turned to obtaining the financing that was necessary for executing the terror attack and purchasing
                       the weapons and vehicles that they would use in the terror attack.
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                  10. To that end, the Defendant contacted his brother Mahmoud who works in the Al-Nur Association,
                       which is affiliated with Hamas. The Defendant asked him to transfer monies to him from Gaza to
                       the region. Mahmoud, transfened to the Defendant, by way of their mother who lives in Hebron,
                       approximately NIS 150,000 in five separate transfers.
                  11. The Defendant and Marwan met after the Defendant obtained the required sum, and Marwan
                       updated him that he even succeeded in obtaining NIS 70,000 for purposes ofexecuting the terror
                       attack. \Mth the help of these sums, Marwan secured, with the help of his partner Amer Omar
                       Abdel Qader Abu Eisha (hereinafter: "Ame/'), a stolen lsraeli vehicle for purposes of executing the
                       terror aftack and apprised the Defendant ofthe same. The Defendant instructed him to purchase
                       an additional vehicle that would serve as an escape vehicle afier he will have destroyed the first
                       vehicle with which they would kidnap the Jew.
                  12. At the end of May 2014, aftel' the manner of financing was settled, and the two vehicles were
                       purchased, the Defendant turned toward obtaining the weapons.
                  13. The Defendant contacted lyad Qawasme and Adnan Mahmoud Eid Azad [faded] (hereinafter:
                       "Adnan") with the request that they buy weapons. lyad declined to sell weapons to the Defendant,
                       and Adnan agreed.
                  14. The Defendant purchased two M-16 rifles, two handguns, and compatible ammunition from
                       Adnan for a total of NIS 190,000, The Defendant transferred approximately NIS 170'000


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   SHATSKY-JDO178O-T                                                                                 CONFIDENTIAL
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   SHATSKY.JDO1781-T                                                                                 CONFIDENTIAL


                        prior lo the transfer of the weapons and agreed with Adnan on lhe transfer of the balance of the
                        sum afterward.
                 15. A ttutttbcr u[days allerward, Adnan updated the Defendant that hls order had been executed and
                        lhe weapons were ready. The Defendant notitied Marwan, and after a number of days, the
                        Defendant received from Marwan the weapons and ammunition hidden in cardboard boxes. Shortly
                        thereafter, the Defendant transferred lhe weapons to Marwan.
                 16. At the beginning of June, the Defendant and Marwan met at the Zahra Mosque in Hebron for a
                        summarizing meeting in advance of the execution of the terror attack. The Defendant examined
                        MaMan's preparedness for the terror attack, and MaMan put the Defendant's mind at ease and
                        told him that he acted as he was requested and that with the help of his partner, purchased two
                        vehicles, one vehicle for executing the abduction and an additional vehicle for the escape as the
                        Defendant instructed.
                 17. MaMan agreed with the Defendant that the date for the execution of the terror attack would be
                        Tuesday of the week following their meeting, meaning, on June 10, 2014, Two days later, the
                        Defendant and Marwan met again at the A-Shafi mosque. The Defendant ascertained that the
                        terror attack would indeed be put into action on the planned date, and Marwan confirmed that
                        indeed such would be the case.
                 18. Marwan and the Defendant agreed that afterthe execution of the kidnapping, MaMan would make
                        a predetermined mark on the traffic sign at the agreed-upon place, thus signaling to the Defendant
                        to begin supplying food and drink to the hiding places that were predetermined as well as begin to
                        securing those places from security forces.
                 1   9. On June 10, 2014, the Defendant waited next to the agreed-upon point and not having found the
                        agreed-upon mark, returned to his home.
                 20. On the next day, June 11, 2014, the Defendant arrived at Maruan's workplace and wondered why
                       the terror attack had not been put into action as agreed. MaMan told him that he had set out with
                        his partner to execute the terror attack, but they did not succeed in kidnapping anyone as they did
                        not locate a suitable target. The Defendant and Marwan agreed that the next day, Marwan and his
                        partner would set out again and put the terror attack into action.
                 21   . OnJunel2,2014,astheDefendantandManyanagreed,MamranandhispartnerAmerset
                        out in a stolen Hyundai, bearing yellow license plates number 30-151-30, toward Gush
                        Etzion. The two were armed with weapons that the Defendant had purchased and sought
                       after their prey,
                       Around 10:30 pm, Matwan and Amer arrived at the bus stop nen to the Alon Shevut
                       sottlement where they observed the three youths, Eyal Ylfrach, Gll-ad Shaar, and Yakov
                        Naftali Fraenkel, of blessed memory, who were on their way home at the end of their school
                       week,
                        Manran and Amer picked up the three youths in thsir vehicle with assurances that they
                       would bring them to their desired destination.
                       After the three youths got into the backseat of Marwan and Amer's vehicle, Marwan drew
                       out a handgun, pointed it to them, and explained to them that they are hostages and must
                        keep quiet.
                       When the youths refused to make peace with their fate and refused to listen to the
                       instructions of their captors, Marwan and Amer decided to kill the three youths.
                       Maman instructed the three to lower their heads.
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                       At that point, Manryan and Amer pointed the barrels of the handguns that they carried toward
                       the three youths and executed them in an accurate volley ol bullets toward their upper
                       bodies whlle they were still in the vehicle'
                       Eyal, Gil-ad, and Naftali, of blessed memory, three teenageF in the prime of their lives, were
                       killed on the spot.
                 22. After the killing of the three youths, Marwan and Amer continued on their way toward Hebron. ln
                       the Wadi Hasaka region, Marwan and Amer wrapped the bodies in black plastic bags and threw
                       out the bodies of the teenagers in a plot of land there. Similarly, they poured gasoline on the
                     abduction vehicle and burned it, including the personal efiects ofthe three hostages.
                 23. Marwan and Amer continued from there in another vehicle, which had been prepared in advance,
                       to Hebron, arriving at the A-Shuhada mosque, where they split up'
                 24. During that time, the Defendant, as agreed between him and Marwan, arrived at the spot agreed
                       upon between them and hoped to see the mark that they agreed Maruan would etch on the traffic
                       sign that would bear the tidings of the success of the kidnapping and the Defendant's continued
                       operations in the framework of the cell.


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   SHATSKY-JDo1781-T                                                                             CONFIDENTIAL
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                   Original
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 CONFIOENTIAL                                                                                                                                  SHATSKYJDOlT43


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                                      TO WHOM IT MAY CONCERN                                                              \1
3 I C R,, attestation is vatid orrty if the Errgtislr ancl Arabic parts match each othcr

   Accorciingto the inforr,atiorr receivecl frorn the lsraeli ALrthorities, tlrc ltrtcrrrational Commillee of

   lhe Red Cross attests that:
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   MT                HOSSAM ALI HASSAN QAWASMEH
                                                                                       R"d"'1"d7866
   Frorn:            HEBRON
                                                                               lD NO

   Was s1;c)rle<l by tlre lsraeli Authorities otr (ddllnrn/yyyy):              11.07 .?.014


   l"le is to rjate; Sentencecl

   l-ength of sentence / adtninislrative period life sentencc
   lleiShe Wa: :eteasecl on (clcl/rrnr/yyyy): XXXXXXXXXXXXXXXXXXXXXXXXXXXXXXXXXXXXXXXXX

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       Case 1:18-cv-12355-MKV-DCF Document 177-25 Filed 05/16/22 Page 71 of 123

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       According to the informalion received from the lsraeli
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       lhe Red Cross attests lhat:
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       Mr:   HOSSAMALT HASSAN QAWASMEH

       From: HEBRON                                                                lD NO Redactedfg6o

       Was arresled by the lsraeliAuthorilies on (dd/mmlyyyy)
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       He is to date; Senlenced

       Length of sentence / administrative period: life
                                                          sentence
       l1e/She was released on (dd I MMIYYYY) : XXXXXXXXXXXXXXXXXXXXXXXXXXXXXXXXXXXXXXXXX



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        Case 1:18-cv-12355-MKV-DCF Document 177-25 Filed 05/16/22 Page 72 of 123

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C I C R'. attestation is valid only if the English and Arabic parts match each other '

       According to the information received from the lsraeli Authorities, the lnlernatronal Commitiee of

       ihe Red Cross aitests that:

       Mr:          HOSSAM AL' HASSAN QAWASMEH

       From:        HEBRON                                                 lD N0: Redacledzgco
                                                                                                             f
       Was arrested by the lsraeli Authorilies on (ddtrnm/yyyy). 11.02 .ZA$

       He is to date: Sentenced

       Length ol sentence I administrative period: life sentence

       HelShe was released on (ddlrnr;r/yyyy): XXXXXXXXXXXXXXXXXXXXXX



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      Case 1:18-cv-12355-MKV-DCF Document 177-25 Filed 05/16/22 Page 73 of 123

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C I C R," attestation is valid only if the English and Arabic parts match each other

    According to the informalion received from the lsraeli Authorities, the lnternalional Commiltee of

    thc RerJ Cross attests that:

    Mr:          HOSSAM ALI HASSAN QAWASMEH

    From. HEBRON                                                           lD NO:Rd*9866

    Was arrested by the lsraeli Aulhorities on {dd/nrm/yyyy}: 11.07.2014

    He is to date: Sentenced

    Length of sentence / administrative period: life sentence

    He/She was released on (ddlmm/yyyy):XXXXXXXXXXXXXXXXXXXXXXXXXXXXXXXXXXXXXXXXX



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  Date: 12.02.2015
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  Place: HEBRON NS                                                                 MAXIM                NE
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      Case 1:18-cv-12355-MKV-DCF Document 177-25 Filed 05/16/22 Page 74 of 123

CONFIDENTIAL                                                                                                                                      SHATSKY-JD01764




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      Case 1:18-cv-12355-MKV-DCF Document 177-25 Filed 05/16/22 Page 75 of 123

CONFIDENTIAL                                                                                                                              SHATSKYJDOlT65




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      Case 1:18-cv-12355-MKV-DCF Document 177-25 Filed 05/16/22 Page 76 of 123

CONFIDENTIAL                                                           SHATSKY-JDO177S




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        Case 1:18-cv-12355-MKV-DCF Document 177-25 Filed 05/16/22 Page 77 of 123

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      Case 1:18-cv-12355-MKV-DCF Document 177-25 Filed 05/16/22 Page 78 of 123

CONFIDENTIAL                                                                                                                                                                   SHATSKY-JD01781




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Case 1:18-cv-12355-MKV-DCF Document 177-25 Filed 05/16/22 Page 79 of 123




                    Exhibit 169
                    Case 1:18-cv-12355-MKV-DCF Document 177-25 Filed 05/16/22 Page 80 of 123




                                               Prisor:er Sala   Statement
 Prisoner no. 2676
 Prisoner Name: Hussam Ali Hasan al-Cawasmeh            Document no. 959337866
 Month Year Beneficiary                        lD no        Bank Name            Branch   Account no      Salary




                                               Redacted




                                                          Page 1 of4

Confidential                                                                                   Shatsky-JD00520-T
                   Case 1:18-cv-12355-MKV-DCF Document 177-25 Filed 05/16/22 Page 81 of 123




                                               Prisoner Sala   Statement
 Prisoner no. 2676
 Prisoner Name: Hussam Ali Hasan al-Qawasmeh            Document no.959337866
Month Year Beneficiary                         lD no.      Bank Name            Branch   Account no      Salary




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                                                           Page 2 of 4

Confidential                                                                                   Shatsky-JD00521-T
                    Case 1:18-cv-12355-MKV-DCF Document 177-25 Filed 05/16/22 Page 82 of 123




                                                Pr sorer Sala   Statement
  Prisoner no.2676
  Prisoner Name: Hussam Ali Hasan al-Qawasmeh            Document no" 959337866
 Month Year Beneficiary                         lD no       Bank Name             Branch   Account no     Salarl'




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                                                           Page 3 of 4

Confidential                                                                                    Shatsky-JDOO522-f
                       Case 1:18-cv-12355-MKV-DCF Document 177-25 Filed 05/16/22 Page 83 of 123




                                                 Prisoner Sala   Statement
 Prisoner no. 2676
 Prisoner Name: Hussam Ali Hasan al-Qawasmeh              Document no. 959337866
Month Year Beneficiary                           lD no        Bank Name            Branch   Account no      Salarv




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4        2020    Ghada Atef Jum'a al-Qawasmeh                                                               6"372.50
5        2024    Ghada Atef Jum'a al-Qawasrneh                                                              6.372.50
6        2020    Ghada Atef Jum'a al*Qawasmeh                                                               6.772.50
7        2024    Ghada Atef Jum'a al-Qawasmeh            6519                                               6.372.50
8        2024    Ghada Atef Jum'a al-Qawasmeh            6519                                               6,372.50
I        2020    Ghada Atef Jum'a al-Qawasmeh            6519                                               6.372.50
10       2020    Ghada Atef Jum'a al-Qawasmeh            6519                                               6,372.50
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'l       2021    Ghada Atef Jum'a al-Qawasmeh            6519                                               6,372.50
2        202'l   Ghada Atef Jum'a al-Qawasmeh                                                               6.341.97
3        2421    Ghada Atef Jum'a al-Qawasmeh                                                               6,325.00
4        2021    Ghada Atef Jum'a al-Qawasmeh                                                               6.325.00
5        2021    Ghada Atef Jum'a al-Qawasrneh           6519                                               6,325.00

                                                             Page 4 of 4

Confidential                                                                                      Shatsky-JD00523-T
Case 1:18-cv-12355-MKV-DCF Document 177-25 Filed 05/16/22 Page 84 of 123




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   Case 1:18-cv-12355-MKV-DCF Document 177-25 Filed 05/16/22 Page 85 of 123




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     Case 1:18-cv-12355-MKV-DCF Document 177-25 Filed 05/16/22 Page 86 of 123




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    Case 1:18-cv-12355-MKV-DCF Document 177-25 Filed 05/16/22 Page 87 of 123




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    Case 1:18-cv-12355-MKV-DCF Document 177-25 Filed 05/16/22 Page 88 of 123




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Case 1:18-cv-12355-MKV-DCF Document 177-25 Filed 05/16/22 Page 89 of 123




                    Exhibit 170
Case 1:18-cv-12355-MKV-DCF Document 177-25 Filed 05/16/22 Page 90 of 123




       CONFIDENTIAL Check number of children                               SHATSKY- JDO1551-T

                               lEnglish:l TO WHOM lT MAY CONCERN                   123981

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       c I c R This certificate is valid only if the English and Arabic parts match each other.

       According to the information received from the lsraeli Authorities, the lnternational
       Committee of the Red Cross attests that

       MT: IBRAHIM JAMIL ABDELGHANI HAMED

       From: RAMALLAH lD No. R"d""t"d@g,

       Was arrested by the lsraeli Authorities on (DD/MM/fnfW): 23.05.2006

       He is to date: Sentenced

       length of sentence / administrative period: [@9ry

       He/She was released on (DD/MM/YYYY):-xxxxxxxxxxxxxxxxxxxxxxxxxxxxxxxxxxxxxxx

       (Tick the box and underline the correct designation)



                              lArabic:l TO WHOM lT MAY CONCERN

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       This certificate is valid only if the English and Arabic parts match each other.

       According to the information received from the lsraeli Authorities, the lnternational
       Committee of the Red Cross attests that

       MT: IBRAHIM JAMIL ABDELGHANI HAMED

       From:@!!\!             lDNo.R"d"d"d@re

       Was arrested by the lsraeli Authorities on Day: 23 Month: 05 year: 2006

       He/She is to date: Awaiting Trial ['l Sentenced    E Administrative E
       length of sentence / administrative period: life sentence

       He/She was released on Day:    g Month:4Year:4
       (Tick the box and underline the correct designation)
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       Date:08.13.2013                                             FREDERIqUE                  the Red
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Case 1:18-cv-12355-MKV-DCF Document 177-25 Filed 05/16/22 Page 91 of 123




       CONFIDENTIAL                               SHATSKY- JDO1557-T

                              lEnglish:l TO WHOM lT MAY CONCERN                    123981



       C I C R This certificate is valid only if the English and Arabic parts match each other.

       According to the information received from the lsraeli Authorities, the lnternational
       Committee of the Red Cross attests that

       Mr: IBRAHIM JAMIL ABDELGHANI HAMED                                       1383

       From:@!!!!\!           lDNo.R"d""t"d@

       Was arrested by the lsraeli Authorities on (DD/MM/WW): 23.05.2005

       He is to date: Sentenced

       length of sentence / administrative period: life sentence

       He/She was released on (DD/MM/YYYY)gxxxxxxxxxxxxxxxxxxxxxxxxxxxxxxxxxxxxxx

       (Tick the box and underline the correct designation)



                              ]Arabic:I TO WHOM IT MAY CONCERN

                                                                                   Renewal

       CICR                                                                [signoture] 8.7

       This certificate is valid only if the English and Arabic parts match each other.

       According to the information received from the lsraeli Authorities, the lnternational
       Committee of the Red Cross attests that

       MT: IBRAHIM JAMIL ABDELGHANI HAMED

       From:@!{!!\g           lDNo.R"d""t"d@

       Was arrested by the lsraeli Authorities on Day:4 Month:..1Q! Year: 2006 Audit

       He/She is to date: Awaiting Trial ! Sentenced E Administrative tr

       Length of sentence / administrative period: life sentence

       He/She was released on Day:     g Month:4Year:g
       (Tick the box and underline the correct designation)
                                                                                               [Stamp of
                                                                                               the Red
       Date:08.13.2013               CERTIFIED UPDATE
                                                                   FREDERIQUE DESGRA]S
                                                                                                  Crossl
       Place: RAMALTAH/NA                 07.20.2017               ICRC Delegate
                                 lnternational Committee of
       tu-o72662                        the Red
                                                       lStamp of
                                                        the Red
       CONFIDENTIAL
                                                         Crossl            SHATSKY- JDO1557-T
    Case 1:18-cv-12355-MKV-DCF Document 177-25 Filed 05/16/22 Page 92 of 123

CONFIDENTIAL                                                liileqiblel                              SHATSKY-JD01558-T

    IEnglish] Palestinian National Authority                        [Emblem of the                     [Arabic] Palestinian National Authority
    Ministry of Detainees & Ex-detainees Affairs                Palestinian Authorityl            Ministry of Detainees & Ex-detainees Affairs
    Gen. Dep. Detainees & Ex-detainees                                                                     Gen. Dep. Detainees & Ex-detainees



                                                              Main Prisoner Form / Old 462221

    Form no.:
    Form issuance date:         3.!4.z0tt                    Ministry's administration,/branch:              Prmrllah



1. Basic information concerning the prisoner:

    lD no. (9 disitsl
    Four-part
    name:
                              First name          -T       Father's name
                                                                                              0
                                                                                           Grandfather's
                                                                                                name
                                                                                                              8               8
                                                                                                                             Family name
                                                                                                                                            6



                        lbrahim                  Jamil                                   Jamil Abd el-Ghani          Hamed
    Mother's            Zinat                                                            Gender:                    Elvale           tr Female
    name:
    DoB:                          1965                                                    Place of birth     Silwad
    Education:          tr llliterate                                     school                       El University                  education
    Profession          Works at Al-Quds University                                      Organization:            Hamas
    prior to arrest:
    Arrest date:        s,23.2006                                                         Place of arrest:        Ramle
    Arrest status:      EI Detained          tr Sentenced         ! Administrative                     tr Free                    D Other
    ln case of life     DaY              Month   Year         Expected release date                    Dav           Month        Year
    sentence                                                  according to verdict:
    according to
    tcRc
    Certificate
    Permanent           Governorate         Ramallah          Residential complex:                                        Redacted
    residence:
    Notes


2. lnformation concerning previous   arrests:            Only those attested to by ICRC certificates, in chronological order from newest to oldest.

     No.     Arrest date        Arrest type       Release date                     Arrest period                             Notes
                                                                          Day         Month        Year
    t.
    2.
    3.
    4.
    5.
    6.



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CONFIDENTIAL                                                                                                              SHATSKY-JD01558-T
 Case 1:18-cv-12355-MKV-DCF Document 177-25 Filed 05/16/22 Page 93 of 123

CONFIDENTIAL                                                                                                 SHATSKY-JD01559.7


 IEnglish] Palestinian National Authority                       lEmblem of the                [Arabic] Palestinian National Authority
 Ministry of Detainees & Ex-detainees Affairs                Palestinian Authorityl      Ministry of Detainees & Ex-detainees Affairs
 Gen. Dep. Detainees & Ex-detainees                                                               Gen. Dep, Detainees & Ex-detainees



3. Social Status lnformation

 Marital Status:             E Sinele                      EI Married                 D Divorced               tr Widow
 lf Married:                 Enter data of spouse and children
 Spouse's lD No.                  N.A.                                                 Marriage Contract Date 9.28.1997
        Name            Asma Abd Al                  Saleh                                           Number of Children              2

 Data on children from first wife:                under      unmarried da             of all
 No.    Name                                                          DoB              Marital Status Education
 L.        Silmi                                                      "*""'*.20oo
 2.        Ali                                                            1998
 3.
 4.
 5.
 6.
 7
 8.
 9



4. lnformation of Authorized Representative (Beneficiary):

               s lD:                                                                       0         8             4             5

 Authorized
 Representative -
                                         -T -T -T
                                   Muhammad Najib Abd el-Ghani Hamed                               Relationship:       Brother


              Name:
 Date of Authorization if                                                Authorization's Period of Validity:
 Available:
 Bank:                             Red acted                             Bank Branch:                              Red acted

 Account No.:                                                                  Redacted
 Landline Phone No.:                                                     Cell Phone No.:
 Permanent Beneficiary's           Governorate            Ramallah       Residential complex:
 Address:
 Notes:


               Notes:
    Confirmation:              I the undersigned  confirm and testifo that all of the information provided in this form is
                               correct and I take               for it,
    Applicant's Signature:               ritten


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CONFIDENTIAL                                                                                                   SHATSKY-JD01559-T
Case 1:18-cv-12355-MKV-DCF Document 177-25 Filed 05/16/22 Page 94 of 123




   SHATSKY.JDO1562-T                                                                                       CONFIDENTIAL
    Page: 1/29                    To: 022954953                 046111741 From:ADV-SALH-M                     13-MAR-2011 17:12
                                                        lsrael Defense Forces
   ln the Military Court                                                                 Court File:4646/05
   Judea                                                                                 Prosecution File: 31 81/05
   Before a panel                                                                        Police File: 268/02 Shafat
                                                                                         1512102Moriah
                                                                                         9638/02 Rishon Lezion
                                                                                         5601/02 Rishon Lezion
                                                                                         2881/02 Glilot
                                                                                         3975/02 Lod
                                                                                         9913/02 Rehovot
                                                                                         11971O2 Shalem

                                                                                         1444106 Hebron
                                                                                         10283101 Zion
   ln the case behileon
   The Militarv Prosecutor
                                                                                The Plaintiff
                                                   s!!!!!i:
   lbrahim Jamil Abd el-Ghani Hamsd (code-named "Abu Ali," "salah 1" andror "sheikh")
   lD No.Redacted 0886, Date of Birth R"d""t* .196s, resident of Silwad
   Detained since    05.23.06             lin handwritten Arabic:] lbrahim Jamil Abd el-Ghani Hamect
                                                                                the Defendant
                                                     Amended lndictment
  The above-named Defendant is herebv indicted for committinq the followino offenses:
   Fi13t Count:
  Nature of the Offense: Membership and activity in an unlawful association, an ofiense pursuant to Regulation
                                                                                                                        [erased]
  8(1)(a) of the Defense Regulations (Emergency), 1 94S.
  Details of the Offonse: The above-named Defendanl, within the Region, starting at a date unknown lo the prosecution,
  and latest starting from 1999 or thereabouts and up to the date of his arrest, was a member or acled as a member in an
  unlavvful association, specilically:
  During the period stated above, the Defendant was a member of the lzz a-Din al-Qassam Brigades, the military wing of
  Hamas which is an unlawful association.
  As part of his membership in the organization, the Defendant acted as described in the following Counts of the indiclment.
  Second Count:
  Nature of the Offense: Holding a position in an unlawful association, an offense pursuant to Regulation BS(1)(b) of the
  Defense Regulations (Emergency), 1 94S.
  Details of the Offense: The above-named Defendant, within the Region, during the period stated in the previous Count
  of the indictment, managed, or assisted in the management of an unlawful association, or did some kind of job or held
  some position in an unlawful association, specifically:
  During the above-stated period, the Defendant served as the head of the lzz a-Din al-Qassam Brigades, the military wing
  of Hamas, which is an unlawful association, in Ramallah. As such, the Defendant used the code-names "Abu Ali,,' "Salah
  1" and "Sheikh."


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  SHATSKY-JD01562-T                                                                                        CONFIDENTIAL
Case 1:18-cv-12355-MKV-DCF Document 177-25 Filed 05/16/22 Page 95 of 123




  SHATSKY-JD01563.T                                                                                    CONFIDENTIAL

   Page:2t29   To: 022954953                               0461'11741 From:ADV-SALH-M 13-MAR-2011 17:12
  IEr!-@!:
  Nature of the Offense: Providing a service to an unlaMul association, an offense pursuant to Regulation 85(1)(c) of the
  Defense (Emergency) Regulations, 1945.
  Details of the Offense: The above-named Defendant, within the Region, at the end of 2001 or thereabouts, did some kind
  of work or provided some kind of service for an unlawful association, speciflcally:
  On the stated date, in or around Ramallah, as part of the Defendant's membership in the Al-Aqsa Martyrs Brigades' the
  militarywingofHamaswhichisanunlawfulassociation,theDefendantrecruited@tothe
  organization. At the time of recruitment the Defendant gave the above-named Mohammed Arman the organizational code-
  name "&MUE, (hereinafler: Abu Mu'az), informed him that his activities would include the execution of terror attacks
   against the State of lsrael, and asked him to recruit additional people to the organization. Likewise, the Defendant
                                                                                                                 (hereinafter:
   appointed him to act as the contact person between him and a Hamas cell consisting of Jerusalem residents
  the Silwan Cell).


   Fourth Count:
   Nature of the Offense: Providing a service to an unlawful association, an offense pursuant to Regulation 85(1Xc) of the
   Defense (Emergency) Regulations, 1945.
   Details of the Offense: The above-named Defendant, within the Region, starting at the end of 2001 until August 2002'
   did some kind of work or provided some kind of service for an unlawful association, specifically:
   During the above-stated period, in or around Ramallah, the Defendant would transfer the sum of approximately USDI '500
   every month to Abu Mu'az and instructed him to transfer it to Wael Mahmoud Mohamed Ali Qasem, code-named "Abu
   Sa'ad" (hereinafler: Abu Sa'ad), the head of the Silwan Cell.


   E!@!:
   Nature of the Offonse: Trafficking in military equipment, an offense pursuant to Section 2 of the Prohibition Against
   Trafficking in Military Equipment (Judea and samaria) order (No. 243), 5728-1968.
   Details of the Offense:The above-named Defendant, within the Region, at the end of 2001 - beginning ol 2002 or
                                                                                                                         the IDF
   thereabouts, trafficked or was involved in a different way in military equipment without an authorization signed by
   commander in the Region or his representative, specifically:
                                                                                                              a weapon
   On the date stated above, in or around Ramallah, the Defendant met with Abu Mu'az and asked him to obtain
   for him. Abu Mu'az contacted Mohamed Lutfi Mohamed Ashqar and asked the latter to obtain a weapon  for him.
                                                                                                                          with a
   Several days later, in or around Ramallah, Abu Mu'az purchased from Mohamed Ashqar a Kalachnikov assault rifle
                                                                                                         purpose, and gave
   cartridges and 3 bullets for 2,000 Jordanian dinar, which he had received from the Defendant for this
   them to him without an authorization from the IDF commander in the Region or his representative.


   S!4bjss!:
   Nature of the Offense: Trafficking in military equipment, an offense pursuant to Section 2 of the Prohibition Against
   Trafficking in Military Equipment (Judea and Samaria) Order (No. 243)' 5728-1968'
   Details of the Offense:The above-named Defendant, within the Region, at the end of 2001 - beginning ol 2OO2 ot
   thereabouts, trafficked or was involved in a different way in military equipment without an authorization signed by the
                                                                                                                             IDF

   commander in the Region or his representative, specifically:
   On the date stated above, in or around Ramallah, the Defendant met with Abu Mu'az and asked him to obtain a weapon
                                                                                                              for him.
   for him. Abu Mu'az again contacted Mohamed Lutfi Mohamed Ashqar and asked that the latter obtain a weapon
   Several days later, in or around Ramallah, Abu Mu'az purchased from Mohamed Ashqar a black handgun with a cartridge
                                                                                                         gave them to him
   and bullets for 1,000 Jordanian dinar, which he had received from the Defendant for this purpose, and
   without an authorization from the IDF commander in the Region or his representative.
Case 1:18-cv-12355-MKV-DCF Document 177-25 Filed 05/16/22 Page 96 of 123




   Seventh Count:
   Nature of the Offense: Trafficking in mililary equipment, an offense pursuant to Section 2 of the prohibition Against
   Trafficking in Military Equipment (Judea and Samaria) Order (No. 249),5728-1968.
   Details of the Offense:The above-named Defendant, within the Region, at the end ot 2OO1 - beginning oI 20O2 or
   thereabouts, trafficked or was involved in a different way in mililary equipment without an authorization signed by the IDF
   commander in the Region or his representative, specifically:
   On the date slated above, in or around Ramallah, the Defendant met with Abu Mu'az and asked him to repair a nickel
   handgun for him. Abu Mu'az contacted Mohamed Lutfi Mohamed Ashqar, gave the latter the above-named handgun and
   asked that Mohamed Ashqar repair it.
   Several days later, in or around Ramallah, Mohamed Ashqar retumed the above-named handgun to Abu Mu'az after
   having repaired it. Abu Mu'az paid him 300 Jordanian dinar for the repair, which he had received for this purpose from the
   Defendant, withoul authorization from the IDF commander in the Region or his representative.

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   SHATSKY- JDO1563-T                                                                                   CONFIDENTIAL
Case 1:18-cv-12355-MKV-DCF Document 177-25 Filed 05/16/22 Page 97 of 123




  SHATSKY-JD01564-T                                                                                          CoNFIDENTIAL

   Page 3/29   To: 022954953                                   04611174',1 From:ADV-SALH-M 13-MAR-2011 17:13
  E!S!h-9su!:
  Nature of the Offonse: Providing a service to an unlawful association, an offense pursuant to Regulation 8[erased](1Xc)
  ofthe Defense (Emergency) Regulations, 1945.
  Dotails of the Offense:The above-named Defendant, within the Region, at or around the beginning oI 2002, did some
  kind of work or provided some kind of service for an unlawful association, specifically:
  On the stated date, in or around Ramallah, as part of his membership in the lzz a-Din al-Qassam Brigades, the military
  wing of Hamas which is an unlawful association, the Defendant hansferred to Aslam Barghouti approximately NlSl'600
  for the purpose of executing terror attacks in the name of Hamas.


  Ninth Count:(Police File 268/02 Shafat)
  Nature of the Offense: Attempt to intentionally cause death, an offense pursuant to Section 51(a) of the Security
  provisions (Judea and Samaria) Order (No. 378), 5730-1970, and Sections M(a)(2) and 1 9 of the Criminal Liability (Judea

  and Samaria) Order (No. 225),5728-1968.
  gg!gj!Sjf$g!@:The above-named Defendant, variously inside and outside the Region, on or around 02 03 2002'
  attempted to intentionally cause the death of another, specifically:
        1   . At or around the end of January, the Defendant met in Ramallah with Abu Mu'az and gave him an explosive
              device in a juice carton. The Defendant asked Abu Mu'az to transfer the above-named explosive device to Abu
              Sa'ad so that the latter, together with members of the Silwan Cell, would put it in Jerusalem so as to cause the
                                                                                                              juice carton, through
              death of as many people as possible. There was also a remote control in the above-named
              which the above-named explosive device could be activated.
        2. On or around 02.03.2002, Abu Mu'az traveled with the above-named explosive device to Beit lksa and gave it to
              Abu Sa'ad so that via the device, the latter, together with his friends would execute the planned terror attack. Abu
              Mu'az even explained to Abu Sa'ad how to operate the above-named explosive device.
        3. On the same day, Abu Sa'ad and Wsam Sa'id Abbasi put the above-named explosive device in the Pisgat Ze'ev
               neighborhood of Jerusalem near a car parked on Sayeret Duchifat Street, with the purpose of detonating it in
               order to cause the death of as many people as possible. Due to a technical problem the above-named explosive
                                                                                                                                put'
               device did not explode. Children who passed by the site where the above-named explosive device had been
               found it and called the police, who detonated the above-named explosive device in a controlled detonation.
        4. Abu Sa'ad reported to Abu Mu'az that the above-named explosive device did not explode when they tried to
               activate it via the above-named remote control. Abu Mu'az told the Defendant about the failure of the above-
               named terror attack.


                  g: (Police File 1512102 Moriah)
                                                                                                                             (Judea
   Nature ofthe Offense: lntentionally causing death, an offense pursuant to Section 51(a) ofthe Security Provisions
   -!
                                                                                                                     (No.
   and Samaria) Order (No. 378), 5730-1970, and Section 14(a)(2) of the Criminal Liability (Judea and Samaria) Order
   225),5728-1968.
   Details of the Offense:The above-named Defendant, variously inside and outside the Region, on or around 03.09.2002'
   intentionally caused the death of another, specifically:
        1. At the beginning of March 2002,in or around Ramallah, the Defendant met with Abdullah Ghaleb Abdullah
               Barghouti, code-named "The Engineer" (hereinafier: the Engineer) and requested that he make an explosive belt
               for a suicide bomber, so that the lafter could execute a suicide terror attack with the intention of causing the death
               of as many people as Possible.
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        2. The Engineer agreed to the request of the Defendant and made an explosive belt. The explosive belt was
               constructed out of a fake leather belt onto which were glued screws and shampoo bottles filled with explosives.
               The Engineer also assembled an activation mechanism for the above-named explosive belt.
        3. After the Engineer finished preparing the explosive belt he transferred the explosive belt through Sayyid Abdel
               Karim Khadr Sheikh Qasem, code-named "Salah 2," his contact person, to the Defendant, for the purpose of
               executing the planned suicide terror attack.
        4. During the same period, in or around Ramallah, the Defendant met with his contact person for the Silwan Cell,
               Abu Mu'az, and told him that he wanted to execute a suicide terror attack within the State of lsrael with the
               inlention of causing the death of the most possible people, to avenge the death of the Abu Qweiq family in
               Ramallah.
        5. The Defendanttold Abu Mu'az that there was a person who was ready to execute a suicide terror attack and
               asked him to contact Abu Sa'ad and ask the latter to locate an appropriate site for the execution of the suicide
               terror attack.
        6. Abu Mu'az met with Abu Sa'ad and told the latter about the request of the Defendantto locate an appropriate site
               in lsrael to carry out a suicide terror attack. Several days later, Abu Sa'ad contacted Abu
                                                                   3
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   SHATSKY-JD01564-T                                                                                         CONFIDENTIAL
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  SHATSKY.JDO1565-T                                                                                     CONFIDENTIAL

   Page:4t29   To:022954953                                046111741 From:ADV-SALH-M 13-MAR-2011 17:13
           Mu'az hnd told him that he had located an appropriate site for the execution of the planned suicide terror attack
           the Moment Cafe on Azza Street in Jerusalem.
           Abu Sa'ad, together with \Msam Sa'id Mousa Abbasi and Mohamed lshaq Awda, executed reconnaissance tgurs
           in the area of the Moment Cafe for the purpose of planning the suicide terror attack. Abu Mu'az reported to the
           Defendant about the site that Abu Sa'ad and his friends had located.
      7. On or around 03.08.2002, Abu Mu'az went to check the road from Ramallah to Beit Hanina, on which he planned
           to bring the suicide bomber the next day in order to execute the planned suicide terror attack. Abu Mu'az lefl
           Ramallah together with Walid Abdel Aziz Abdel Hadi Anjas and drove to Beit Hanina for the purpose of checking
           out the presence of lsraeli security forces on the said road. Abu Mu'az and Walid Anjas learned that there were
           no security forces on the said road.
      g. Afierwards, together with Walid Anjas, Abu Mu'az met in Ramallah through the code-words that he received from
           the Defendant, with Fuad lsmail al-Khourani, who was the suicide bomber who was supposed to execute the
           planned suicide tenor attack.
      g. Abu Mu'az called Abu Sa'ad and told the latter that he had to meet Fuad al-Khourani, the suicide bomber who
           was supposed to execute the planned suicide terror attack, in Beit Hanina at22'.00 on 03'09.2002'
       10. On Saturday, 03.09.2002, around 20:00, in or around Ramallah, the Defendant met with Abu Mu'az and Fuad
           al-Khourani. The Defendant and Fuad al-Khourani left the meeting place for approximately half an hour so that
           Fuad al-Khourani could put on the explosive belt.
       11. Afterwards, Abu Mu'az and Walid Anjas accompanied Fuad al-Khourani, who was wearing the explosive belt, to
           the ealandiya taxi station in Ramallah, and put the latter in a shuttle vehicle traveling to Beit Hanina. Abu Mu'az,
           Walid Anjas and Fuad al-Khourani rode together to Beit Hanina in the shuttle vehicle. Abu Mu'az and Walid Anjas
           brought Fuad al-Khourani to the meeting place that Abu Mu'az had set with Abu Sa'ad.
       12. Abu Sa'ad met with the suicide bomber, Fuad al-Khourani, in the said place, and afterwards he drove the suicide
           bomber to Jerusalem together with \Msam Abbasi. Abu Sa'ad and \Msam Abbasi took Fuad al-Khourani to the
           Moment Cafe on Azza Street in Jerusalem.
       13. Around 22:30 on or around 03.09.2002, Fuad al-Khourani, who was wearing the explosive belt as said above,
           entered the Moment Cafe, which at the time was full of people, and activated the above-named explosive belt
           with the intention of causing the death of as many people as possible.
       14. As a result of the detonation of the explosive belt as described above, 11 people were killed, 65 were injured and
           a great deal of property damage was caused.
       15. With his actions as described above, the Defendant intentionally caused the death of Avraham Rahamim of
            blessed memory.


   Elgy!!!h-@!: (Police Flle'1512102 Moriah)
                                                                                                                        (Judea
   Nature of the Offense: lntentionally causing death, an offense pursuant to Section 51 (a) of the Security Provisions
                                                                                                                        (No.
   and Samaria) Order (No. 978),5730-1970, and Section 14(a)(2) of the Criminal Liability (Judea and Samaria) Order
   225),5728-1968.
   Details of the Offense:The above-named Defendant, on the date and under the circumstances described in the tenth
   Count of the indictment, intentionally caused the death of another, specifically:
   On the date and under the circumstances described above, the Defendant intentionally cause the death of Nir Borochov
   of blessed memory.


   Twelfth Gount: (Police FaJe 1512102 Moriah)
Case 1:18-cv-12355-MKV-DCF Document 177-25 Filed 05/16/22 Page 100 of 123




   Nature of the Offense: lntentionally causing death, an offense pursuant to Section 51 (a) of the Security provisions (Judea
   and Samaria) Order (No. 378), 5730-1970, and Section '14(a)(2) of the Criminal Liabitity (Judea and Samaria) Order (No.
   225),5728-1968.
   Details of the Offense:The above-named Defendant, on lhe date and under the circumstances described in the tenth
   Count of the indictment, intentionally caused the death of another, specifically:
   On the date and under the circunistances described above, thC Defendant intentionally cause the death of Llmor Ben-
   Shoham of blessed memory.


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   SHATSKY- JDO1565-T                                                                                  CONFIDENTIAL
Case 1:18-cv-12355-MKV-DCF Document 177-25 Filed 05/16/22 Page 101 of 123




   SHATSKY-JD01566-T                                                                                    CONFIDENTIAL

    Page: 5/29             To: 022954953                    0461'11741 From:ADV-SALH-M 13-MAR-2011 17:14
   Ibi4 !b-g!!t!l: (Police Fite 1512t02 Moriah)

   NglUlgg1@f@i-lntentionally            causing death, an offense pursuant to Section 51(a) of the Security Provisions (Judea
   and Samaria) Order (No. 378), 5730-1970, and Section 14(a)(2) of the Criminal Liability (Judea and Samaria) Order (No.
   225),5728-1968.
   Details of the Offense:The above-named Defendant, on the date and under the circumstances described in the tenlh
   Count of the indictment, intentionally caused the death of another, specifically:
   On the date and under the circumstances described above, the Defendant intentionally cause the death of Dan lmani of
   blessed memory.


   Fourteenth Count: (Police File 1512102 Moriah)
   Nature of the Offense: lntentionally causing death, an offense pursuant to Section 51(a) of the Security Provisions (Judea
   and Samaria) Order (No. 378), 5730-1 970, and Section 14(a)(2) of the Criminal Liabili$ (Judea and Samaria) Order (No.
   225),5728-1968.
   g9lgilsjt!@tfglsg:The above-named Defendant, on the date and under the circumstances described in the tenth
   Count of the indictment, intentionally caused the death of another, specifically:
   On the date and under the circumstances described above, the Defendant intentionally cause the death of Danit Dagan
   of blessed memory.


   E@!h            !: (Police File1512102 Moriah)
   Nature of the Offense: lntentionally causing death, an offense pursuant to Section 51(a) of the Security Provisions (Judea
   and Samaria) Order (No. 378), 5730-1970, and Section 14(aX2) of the Criminal Liabili$ (Judea and Samaria) Order (No.
   225),5728-1968.
   Details of the Oflense:The above-named Defendant, on the date and under the circumstances described in the tenth
   Count of the indictment, intentionally caused the death of another, specifically:
   On the date and under the circumstances described above, the Defendant intentionally cause the death of Uri Felix of
   blessed momory.


   Sixteenth Count: (Police File 1512102 Moriah)
   Nature ofthe Offense: lntentionally causing death, an offense pursuant to Section 51(a) ofthe Security Provisions (Judea
   and Samaria) Order (No. 378), 5730-1970, and Section 1a@)Q) of the Criminal Liability (Judea and Samaria) Order (No'
   225),5728-1968.
   Details of the Offense:The above-named Defendant, on the date and under the circumslances described in the tenth
   Count of the indictment, intentionally caused the death of another, specifically:
   On the date and under lhe circumstances described above, the Defendant intentionally cause the death of Baruch Lerner
   of blessed memory.


   Seventeenth Count: (Police Flle 1512102 Moriah)
   Nature of the Offense: lntentionally causing death, an offense pursuant to Section 51 (a) of the Security Provisions (Judea
   and Samaria) Order (No. 378), 5730-1970, and Section 14(a)(2) of the Criminal Liability (Judea and Samaria) Order (No.
   225),5728-1968.
   Details of the Offense:The above-named Defendant, on lhe date and under the circumstances described in the tenth
   Count of the indictment, intentionally caused the death of another, specifically:
   On the date and under the circumstances described above, the Defendant intentionally cause the death of Tali Eliyahu of
   blessed memory.
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   Eiohteenth Count: (Police Flle 1512102 Moriah)
   Nature of the Offense: lntentionally causing death, an offense pursuant to Section 51 (a) of the Security Provisions (Judea
   and Samaria) Order (No. 378), 5730-1970, and Section 14(a)(2) of the Criminal Liability (Judea and Samaria) Order (No.
   225),5728-1968.
   Details of the Offense:The above-named Defendant, on the date and under the circumstances described in the tenth
   Count of the indictment, intentionally caused the death of another, specifically:
   On the date and under the circumstances described above, lhe Defendant intentionally cause the death of Livnat Dvash
   of blessed memory.


   Nineteenth Count: (Police File 1512102 Moriah)
   Nature ofthe Offense: lntentionally causing death, an offense pursuantto Section 51(a) ofthe Security Provisions (Judea
   and Samaria) Order (No. 378), 5730-1970, and Section 14(a)(2) of the Criminal Liability (Judea and Samaria) Order (No.
   225),5728-1968.
   Details of the Offense:The above-named Defendant, on the date and under the circumstances described in the tenth
   Count of the indictment, intentionally caused the death of another, specifically:
   On the date and under lhe circumstances described above, the Defendant intentionally cause lhe death of Orlt Ozarov of
   blessed memory.


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   SHATSKY- JDO1566-T                                                                                  CONFIDENTIAL
Case 1:18-cv-12355-MKV-DCF Document 177-25 Filed 05/16/22 Page 103 of 123




   SHATSKY-JD01567-T                                                                                      CONFIDENTIAL

    Page:6/29   To:022954953                                    046111741 From:ADV-SALH-M 13-MAR-2011 17:14

   NCltlrg-gljbggtr@Ltntentionally         causing death, an offense pursuant to Section 51(a) of the Security Provisions (Judea
   and Samaria) Order (No. 378), 5730-1 970, and Section 14(a)(2) of the Criminal Liability (Judea and Samaria) Order (No'
   225), s728-1968.
   Details of the Offense:The above-named Defendant, on the date and under the circumstances described in the tenth
   Count of the indictment, intentionally caused the death of another, specifically:
   On the date and under the circumstances described above, the Defendant intentionally cause the death of Nstanel
   Kochavi of blessed memory.


   Twentv-first Count: (Police File 1512102 Moriah)
   Nature of the Offense: Attempt to intentionally cause death, an offense pursuant to Section 51(a) of the Security
   Provisions (Judea and Samaria) Order (No. 378), 5730-1970, and Sections 14(a), 19 and 20 of the Criminal Liability (Judea
   and Samaria) Order (No. 225),5728-1968.

   @j!s of$4ffglsg:The above-named Defendant, on the date and under the circumstances described in the previous
   Count of the indictment, attempted to intentionally cause the death of another, specifically:
   On the date and under the circumstances described above, the Defendant attempted to cause the death of as many
   citizens as possible. As a result of the detonation of the explosive device that was activated as described in the tenth Count
   of the indictment, 6{ people were injured.



   Ige!g:@n!:
   Mlgle o!-!@ffense:_ Attempt to intentionally cause death, an offense pursuant to Section 51(a) of the Security
   provisions (Judea and Samaria) Order (No. 378), 5730-1970, and Sections 14(a)(2),19 and 20 of the Criminal Liability

   (Judea and Samaria) Order (No. 225),5728-1968.
   Details of the Offense: The above-named Defendant, within the Region, on or around the end of March 2002, attempted
   to intentionally cause the death of another, specifically:
        1   . On the date stated above, in or around Ramallah, the Defendant met with Abu Mu'az and asked him to meet a
              person through the use of code-words who was supposed to execute a suicide terror attack in lsrael with the
               intention of causing the death of as many people as possible (hereinafter: the Suicide Bomber)'
        2.     Following the above-mentioned request, on or around 03.27.2002, Abu Mu'az met in Ramallah with the Suicide
               Bomber and took him to an apartment that the Defendant had shown him a day earlier. Abu Mu'az also brought
              Abu Sa'ad to the same aPartment.
        3. Later, the Defendant himself also came to the said apartment, with his face covered and wearing gloves. The
               Defendant brought with him an explosive belt that was meant for the Suicide Bomber for the purpose of executing
               the planned suicide terror attack.
        4. The Defendant and his above-named friends planned that already on that night Abu Sa'ad would take the Suicide
               Bomber, wearing the explosive belt, to execute the planned suicide terror attack.
        5. The Defendant, in the presence of Abu Mu'az and Abu Sa'ad in the above-named apartment, taught the Suicide
               Bomber how to wear the suicide belt and activate it.
        6. At the end, the Defendant decided to postpone the execution of the tenor attack to the next day since the roads
               were closed that night due to an exchange of fire between IDF forces and terrorists in the Ramallah Region.
        7.     The planned terror attack was cancelled at the end because on that night between 03.27.2002 and 28.03.2002'
               a suicide terror attack took place in the Park Hotel in Netanya. The Defendant asked Abu Mu'az to inform Abu
               Sa'ad and the Suicide Bomber of the cancellation and he did so.
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         8. The above-named Suicide Bomber later executed the suicide terror attack at the Sheffield Club in Rishon LeZion,
             as will be described in the twenty-fourth Counl of the indictment.


   Twentv.third Count:
    Details of the Offense:Trafficking in military equipment, an ofiense pursuant to Section 2 of the Prohibition Against
   Trafficking in Mllitary Equipment (Judea and Samaaia) Order (No. 243), 5Z28-1968.
   Details of the Offense:The above-named Defendant, within the Region, at the beginning of April 2OO2 ot thereabouts,
   trafficked or dealt in a different way in military equipment without an authorization signed by the IDF commander in the
   Region or his representative, specifically:
   On the said date, the Defendant asked Abu Mu'az to get the explosive belt described in the previous Count of the indictment

   from the hiding place in Ramallah, as well as two additional explosive devices, so that they would not be discovered by
   IDF forces.
   According to the request of Abu Mu'az, Mohamed Lutfi Mohamed Ashqar transferred the above-named explosive belt
   together with the above-named explosive devices to Ein Ariq. After about an hour, Abu Mu'az also came to Ein Ariq and
   hid


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   SHATSKY- JDO1567-T                                                                                   CONFIDENTIAL
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   SHATSKY-JD01568-T                                                                                      CoNFIDENTIAL
    pageiTt}g   To: 022954953                                 0461'11741 From:ADV-SALH-M 13-MAR-2011 17:14
   the above-named explosive devices and the explosive blet near a tree in open ground near Ein Ariq.
   Several days later, Abu Mu'az came to the hiding place, removed the explosive devices and the explosive belt and
   transferred them, together with Walid Abdel Aziz Abdel Hadi Anjas, to a different hiding place that was near Beit Anan.
   At the end of April 2002, Abu Mu'az transferred the two above-named explosive devices to Ramallah and
                                                                                                            gave them to the

   Defendant, without an authorization from the IDF commander of the Region or his representative'


   Twentv-fourth Count: (Police File 5601/02 Rishon LeZion)
   Nature of the Offense: lntentionally causing death, an offense pursuant to Section 51(a) of the Security Provisions (Judea
                                                                                                                          (No.
   and Samaria) Order (No. 378), 5730-1970, and Section 14(a)(2) of the Criminal Liability (Judea and Samaria) Order
   225),5728-1968.
   Details of the Offense:The above-named Defendant, variously inside and outside the Region, on or around 05 07.2002'
   intentionally caused the death of another, specifically:
       1   . At the end of April 2002, in or around Ramallah, the Defendant met with Abu Mu'az, and instructed him to execute
              a terror attack with the intention of causing the death of as many people as possible. The Defendanteven told
              Abu Mu,az that he had a person who was ready to execute a suicide terror attack.
       2.     Several days later, in or around Ramallah, the Defendant introduced Abu Mu'az to Mohamed Jamil Ahmad
              Mu'ammar (hereinafter: the Suicide Bomber), who was supposed to execute the planned suicide terror aftack.
              During the meeting it was decided that the Defendant would bring the Suicide Bomber in several days'time to a
              meeting with Abu Mu'az in Ramallah and the latter would take the Suicide Bomber to execute the planned suicide
              terror attack.
        3. On 05.07.2002, Abu Mu'az met with the Suicide Bomber in Ramallah according to the above-mentioned
              agreement. At the request of Abu Mu'az, Walid Abdel Aziz Abdel Hadi Anjas accompanied the Suicide Bomber
              from Ramallah to Safa. ln Safa, the above-mentioned pair met wtih Abu Mu'az and traveled together to Beit Anan
              Abu Mu'az gave to the Suicide Bomber the explosive belt that he had hidden at the site, as described in the
              previous Count of the indictment. Abu Mu'az put the above-named explosive belt on the Suicide Bomber's body
              and also gave the latter a satchel with an additional explosive device'
        4. AfteMards, Abu Mu'az contacted Mahmoud Mohamed Atallah Anjas and told the latter that he wanted to transfer
              stolen goods to Beit lksa. Abu Mu'az wanted to know if there were IDF roadblocks on the road to Beit lksa.
              Mahmoud Anjas told Abu Mu'az that a short time earlier he had traveled on the said road and hadn't seen IDF
              forces. Following this, Abu Mu'az drove the Suicide Bomber with the explosive device and explosive belt, in his
              car, from Beit Anan to Beit lksa.
        S. ln or around Beit lksa, Abu Mu'az and the Suicicle Bomber met with Abu Sa'ad, who took the Suicide Bomber to
              execute the planned terror attack.
        6. That same evening, Abu Sa'ad together with Wisam Sa'id Abbasi drove the Suicide Bomber to Rishon Lezion
              and there they accompanied him to the Sheffield Club on 1 Sacharov Street in the new industrial zone, which had
              been previously located by Abu Sa'ad, Mohamed lshaq Awda, Wisam Abbasi and Ala'a A-Din Mahmoud Abbasi
              as an appropriate place to execute a suicide terror attack. Abu Sa'ad and Wisam Abbasi pointed out the said
              club to the Suicide Bomber and explained to him that this was where he should execute the planned suicide terror
              attack.
        7. Around 22:50 on or around 05.07.2002, the Suicide Bomber entered the above-named club and activated the
              explosive belt and the additional explosive device that Abu Mu'az had received for this purpose, with the intention
              of causing lhe death of as many people as possible'
        g. The next day, Abu Mu'az met with Abu Sa'ad, who reported regarding the execution of the suicide terror attack in
              Rishon LeZion.
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       9. As a result of the detonation of the explosive belt as described above, 5 people were killed, 59 were injured and
                                                                                     1

            a great deal of damage was done to property.
        10. ln his actions as described above, the Defendant intentionally caused the death of Rahamim Kimche of blessed
            memory, who was killed as a result of the detonation of the explosive devices as described above.


   Twentv.fifth Couht: (Police File 5601/02 Rishon LeZion)
   Nature of the Ofiense: lntenlionally causing death, an offense pursuant to Section 51(a) of the Security provisions (Judea
   and Samaria) Order (No. 378), 5730-1970, and Section M(a)(2) of the Criminal Liability (Judea and Samaria) Order (No.
   225),5728-1968.
   Details of the Oftense: The above-named Defendant, on the date and under the circumstances described in the twenty-
   fourth Count of the indictment, intentionally caused the death of another, specfically:




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   [cut offl Yhouda            To 0046111741               P 09/33
   SHATSKY- JDO1568-T                                                                                  CONFIDENTIAL
Case 1:18-cv-12355-MKV-DCF Document 177-25 Filed 05/16/22 Page 107 of 123




   SHATSKY-JD01569-T                                                                                    CoNFIDENTIAL

    Page:8/29   To:022954953                                046111741 From:ADV-SALH-M 13-MAR-2011 17:15
   On the date and under the circumstances described above, the Defendant intentionally caused the death of Refael Haim
   of blessed memory.
   Twentv-sixth Count: (Police File 5601/02 Rishon LeZion)
   Nature of the Offense: lntentionally causing death, an offense pursuant to Section 51(a) of the Security Provisions (Judea
   and Samaria) Order (No. 378), 5730-1970, and Section 14(a)(2) of the Criminal Liability (Judea and Samaria) Order (No.
   225),5728-1968.
   Details of the Offense: The above-named Defendant, on the date and under the circumstances described in the twenty-
   fourth count of the indictment, intentionally caused the death of another, specfically:
   On the date and under the circumstances described above, the Defendant intentionally caused the death of Anat
   Temporush of blessed momory.


   Twentv-seventh Countr (Police File 5601r02 Rishon LeZion)
   Nature of the Oftense: lntentionally causing death, an offense pursuant to Section 51(a) of the Security Provisions (Judea
   and Samaria) Order (No. 378), 5730-1970, and Section 14(a)(2) of the Criminal Liability (Judea and Samaria) Order (No
   225),5728-1968.
   Details ofthe Offense: The above-named Defendant, on the date and underthe circumstances described in the twenty-
   fourth count of the indictment, intentionally caused the death of another, specfically:
   On the date and under the circumstances described above, the Defendant intentionally caused the death of Avraham Biaz
   of blessed memory.


   @b@jgEh Goun!: (Police File 5501r02 Rishon Lezion)
   Nature of the Offense: lntentionally causing death, an offense pursuant to Section 51(a) of the Security Provisions (Judea
   and Samaria) Order (No. 378),5730-1970, and Section 14(a)(2) of the Criminal Liability (Judea and Samaria) Order (No.
   225),5728-1968.
   Details of the Offense: The above-named Defendant, on the date and under the circumstances described in the twenty-
   fourth count of the indictment, intentionally caused the death of another, specfically:
   On the date and under the circumstances described above, the Defendant intenlionally caused the death of Etti Bablar of
   blessed memory.


   Twentv-ninth Count: (Police File 5601/02 Rishon LeZion)
   Nature of the Offense: lntentionally causing death, an offense pursuant to Section 51(a) of the Security Provisions (Judea
   and Samaria) Order (No. 378), 5730-1970, and Section 14(a)(2) of the Criminal Liability (Judea and Samaria) Order (No.
   225),5728-1968.
   Details of the Offense: The above-named Defendant, on the date and under the circumstances described in the twenty-
   fourth count of the indictment, intentionally caused the death of another, specfically:
   On the date and underthe circumstances described above, the Defendant intentionally caused the death of Yitzhak Bablar

   of blessed memory.


   Thirtieth Count: (Police File 5601/02 Rishon LeZion)
    Nature of the Offense: lntentionally causing death, an offense pursuant to Section 51(a) of the Security Provisions (Judea
    and Samaria) Order (No. 378), 5730-1970, and Section 14(a)(2) of the Criminal Liability (Judea and Samaria) Order
                                                                                                                           (No.

    225),5728-1968.
    Details of the Offense: The above-named Defendant, on the date and under the circumstances described in the twenty-
    fourth Count of the indictment, intentionally caused the death of another, specfically:
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   On the date and under the circumstances described above, the Defendant intentionally caused the death of yisrael Shikar
   of blessed memory.


   Thlrtv-first Count: (Pollce File 5601/02 Rishon LeZlon)
   Nature of the Offense: lntentionally causing death, an ofiense pursuant to Section 51 (a) of the Security provisions (Judea
   and Samaria) Order (No. 378), 5730-1970, and Section 14(a)(2) of the Criminal Liability (Judea and Samaria) Order (No.
   225),5728-1968.
   Details of the Offense: The above-named Defendant, on the date and under the circumstances described in the twenty-
   fourth Count of the indictment, intentionally caused the death of another, specfically:
   On the date and under the circumslances described above, the Defendant intentionally caused the death of Shoshana
   Magmari of blessed memory.


   Thirtv-second Count: (Police Flle 5601/02 Rishon LeZion)
   Nature of the Offense: lntentionally causing death, an offense pursuant to Section 51 (a) of the Security provisions (Judea
   and Samaria) Order (No. 378), 5730-1970, and Section M(a)(2) of the Criminal Liabitity (Judea and Samaria) Order (No.
   225),5728-1968.
   Details of the Ofiense: The above-named Defendant, on the date and under the circumstances described in the twenty-
   fourth Count of the indictment, intentionally caused the death of another, specfically:
   On the date and under the circumstances described above, the Defendant intentionally caused the death of Sharuk
   Rassan of blessed memory.
                                                                 I
   lcutoffl Yhouda T00046111741                            p 10/33
   SHATSKY- JDO1569-T                                                                                  CONFIDENTIAL
Case 1:18-cv-12355-MKV-DCF Document 177-25 Filed 05/16/22 Page 109 of 123




   SHATSKY-JDO1s7O.T                                                                                   CONFIDENTIAL

    Page:9/29   To:022954953                                046111741 From:ADV-SALH-M 13-MAR-2011 17:15
   IhISIh!I!I-9g$: (Police File 5601/02 Rishon LeZion)
   Nature of the Offense: lntentionally causing death, an offense pursuant to Section 51(a) of the Security Provisions (Judea
   and Samaria) Order (No. 378), 5730-1970, and Section 14(a)(2) of the Criminal Liability (Judea and Samaria) Order (No'
   225),5728-1968.
   Details of the Offense: The above-named Defendant, on the date and under the circumstances described in the twenty-
   fourth count of the indictment, intentionally caused the death of another, specfically:
   On the date and under the circumstances described above, the Defendant intentionally caused the death of Nawa Hinawi
   of blessed memory.of blessed memory


   Thirtv-fourth Count: (Police File 5601/02 Rishon LeZion)
   Nature of the Offense: lntentionally causing death, an offense pursuant to Section 51(a) of the Security Provisions (Judea
   and Samaria) Order (No. 378), 5730-1970, and Section 14(a)(2) of the Criminal Liability (Judea and Samaria) Order (No.
   225),5728-',1968.
   Details of the Ofiense: The above-named Defendant, on the date and under the circumstances described in the twenty-
   fourth count of the indictment, intentionally caused the death of another, specfically:
   On the date and under the circumstances described above, the Defendant intentionally caused the death of Nir Lobatin
   of blessed memory.


   Thirtv-fifth Count: (Police File 5601/02 Rishon LeZion)
   Nature of the Offense: lntentionally causing death, an offense pursuant to Section 51 (a) of the Security Provisions (Judea
   and Samaria) Order (No. 378), 5730-1970, and Section 14(a)(2) of the Criminal Liability (Judea and Samaria) Order (No.
   225),5728-1968.
   Details of the Offense: The above-named Defendant, on the date and under the circumstances described in the twenty-
   fourth count of the indictment, intentionally caused the death of another, specfically:
   On the date and under the circumstances described above, the Defendant intentionally caused the death of Regina Malka
   Boslan of blessed memory.


   Thirtv-sixth Count: (Police File 5601/02 Rishon LeZion)
   Nature of the Offense: lntentionally causing death, an offense pursuant to Section 51 (a) of the Security Provisions (Judea
   and Samaria) Order (No. 378), 5730-1970, and Section 14(a)(2) of the Criminal Liability (Judea and Samaria) Order (No.
   225),5728-1968.
   Details of the Offense: The above-named Defendant, on the date and under the circumstances described in the twenty-
   fourth count of the indictment, intentionally caused the death of another, specfically:
   On the date and under the circumstances described above, the Defendant intentionally caused the death of Daliah Massah

   of blessed memory.


   Thirtv-seventh Count: (Police File 560{r02 Rishon LeZion)
   Nature of the Offense: lntentionally causing death, an offense pursuant to Section 51 (a) of the Security Provisions (Judea
   and Samaria) Order (No. 378), 5730-1970, and Section 14(a)(2) of the Criminal Liability (Judea and Samaria) Order (No.
   225),5728-1968.
   Details ofthe Offense: The above-named Defendant, on the date and underthe circumstances described in the twenty-
   fourth Count of the indictment, intentionally caused the death of another, specfically:
   On the date and under the circumstances described above, the Defendant intentionally caused the death of Pnina Hikri
   of blessed memory.
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   Thirtv-elohth Count: (Police File 5601/02 Rishon Lezion)
   Nature of the Offense: lntentionally causing death, an offense pursuant to Section 51(a) of the Security Provisions (Judea
   and Samaria) Order (No. 378), 5730-1970, and Section 14(a)(2) of the Criminal Liability (Judea and Samaria) Order (No.
   225),5728-1968.
   Details ofthe Offense: The above-named Defendant, on the date and underthe circumstances described inthe twenty-
   fourth Count of the indictment, intentionally caused the death of another, specfically:
   On the date and under the circumstances described above, the Defendant intentionally caused the death of Edna Cohen
   of blessed memory.


   Thirtv-ninth Count: (Police File 5601/02 Rishon LeZion)
   Nature of the Offense: Attempt to intentionally cause death, an offense pursuant to Section 51(a) of the Security
   Provisions (Judea and Samaria) Order (No. 378), 5730-1970, and Sections 14(a),19 and 20 of the Criminal Liability (Judea
   and Samaria) Order (No. 225),5728-1968.
   Details of the Offense: The above-named Defendant, on the date and under the circumstances described in the twenty-
   fourth Count of the indictment, attempled to intentionally cause the death of another, specfically:
   The above-named Defendant, on the date and under the circumstances described in the twenty-fourth Count of the
   indictment, attempted to intentionally cause the death of as many citizens as possible. As a result of the detonation of the
   explosive devices that were activated as described in the twenty-fourth Count of the indictment, 59 people were injured.
                                                                 I
        Yhouda
   lcut offl       fo0046111741                            p 11t33
   SHATSKY- JDO157O-T                                                                                    CONFIDENTIAL
Case 1:18-cv-12355-MKV-DCF Document 177-25 Filed 05/16/22 Page 111 of 123




   SHATSKY-JDO1571-T                                                                                       CoNFIDENTIAL

    Page: 10/29 To:022954953                                      046111741 From:ADV-SALH-M 13-MAR-2011 17:15
   Fortieth Count: (Police File 2881/02 Glilot)
   Nature of the Offense: Attempt to intentionally cause death, an offense pursuant to Section 51(a) of the Security
   provisions (Judea and Samaria) Order (No. 378),5730-1970, and Sections 14(a)(2),19 and 20 of the Criminal Liability

   (Judea and Samaria) Order (No. 225),5728-1968.
   Details of the Offense: The above-named Defendant, variously inside and outside the Region, on or around 05.23'2002'
   attempted to intentionally cause the death of another person, specifically:
       1    . ln May 2002, in or around Ramallah, the Delendant met with Abu Mu'az and informed him that he wanted to
              execute a terror attack and detonate a fuel tanker, with the intention of causing the death of as many people as
              possible. Abu Mu'az promised the Defendant to examine the matter.
       2. Abu Mu'az met with Abu Sa'ad and told him about the plan of the Defendantto execute a terrorist attack, as said
              above. Abu Sa'ad told Abu Mu'az that he would examine the matter and see what could be done.
       3.     Several days later, Abu Mu'az met again with Abu Sa'ad. Abu Sa'ad told Abu Mu'az that he and his friends had
               located a fuel tanker that regularly drives to the Pi Glilot site.
       4. en 05.22.20O2. Abu Mu'az met with the Detendant in Ramallah and reported to him about the above-named
              tanker. The Defendant asked to meet with Abu Mu'az in several hours'time in the same place.
       5.     Several hours later, the Defendant met again with Abu Mu'az in Ramallah. The Defendant gave Abu Mu'az an
               explosive device activated via the cellular phone that was attached to it. LikeWse, the Defendant gave Abu Mu'az
               another cellular phone, from which to call the phone attached to the explosive device in order to activate it. The
               Defendantexplained to Abu Mu'az how to activale the above-named explosive device via the above-named
               cellular phones. Likewise, the Delendant clarified to Abu Mu'az that after activating the explosive device, the
               cellular phone that was used to activate the explosive device should be thrown into the garbage.
        6.     Abu Mu'az gave the above-named explosive device to Walid Abdel Aziz Abdel Hadi Anjas, who transferred it to
               Safa according to Abu Mu'az's request. Abu Mu'az came to Safa and from there he drove in his car together with
               Walid Anjas to Beit lksa.
        7   . Abu Mu'az and Walid Anjas traveled in Abu Mu'az's car with Abu Mu'az driving and Walid Anjas sitting in the back
               seat and holding the explosive device in his hands. The plan was that if Abu Mu'az and Walid Anjas would
               encounter the lsraeli security forces, Walid Anjas would jump from the car with the explosive device and flee from
               the site or throw the explosive device from the car'
        g. Abu Mu'az met there with Abu Sa'ad and together with Walid ANjas, gave to Abu Sa'ad the above-named
               explosive device with a cellular phone attached to it as well as the additional cellular phone. Abu Mu'az explained
               to Abu Sa'ad how to operate the above-named explosive device via the cellular phones. The electric wires in the
               said explosive device were not attached and Abu Mu'az attached them in order to prepare the explosive device
               for detonation before giving the device to Abu Sa'ad'
        9. ln the early morning hours the next d ay,05.23.2002, Abu Sa'ad drove to Holon together with Wisam Sa'id Abbasi'
               while in possession of the above-named explosive device. ln Holon, Abu Sa'as used a magnet to attach the
               above-named explosive device to the lower front area of the fuel tank that was mounted on fuel tanker, license
               plate number 2622700. The above-named fuel tanker had been located previously as a target for the execution
               of a terror attack by Wisam Abbasi and Ala'a A-Din Mahmoud Abbasi. Abu Sa'ad waited in his car until the driver
               of the fuel tanker arrived and afterwards he followed the above-named fuel tanker until it arrived at the Pi Glilot
               site. After Abu Sa'ad confirmed that the fuel tanker which had the above-named explosive device attached to it,
               had entered the Pi Glilot site, Abu Sa'ad activated the above-named explosive device via a cellular phone, with
               the intention of causing the death of as many people as possible.
           10. The above-named explosive device detonated and caused heavy damage to the above-named fuel tanker.
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       11. AfteMards, Abu Mu'az met with the Defendant in Ramallah and reported to him regarding the execution of the
            terror attack at the Pi Glilot site.


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   SHATSKY. JDO1571-T                                                                           CONFIDENTIAL
Case 1:18-cv-12355-MKV-DCF Document 177-25 Filed 05/16/22 Page 113 of 123




   SHATSKY-JDo1572-T                                                                                        CONFIDENTIAL
    Page:11t29  To: 022954953                                 046111741 From:ADV-SALH-M 13-MAR-20'11 17:16
   EIS{:!!IS!-@!: (Police File 3975/02 Lod)
   lg!@Llh4tfglggL               Attempt to intentionally cause death, an offense pursuant to Section 51(a) of the Security
   Provisions (Judea and Samaria) Order (No. 378), 5730-1970, and Sections 14(a), 19 and 20 of the Criminal Liability (Judea
   and Samaria) Order (No. 225),5728-1968.
   Details of the Offense:The above-named Defendant, variously inside and outside the Region, on or around 06.30.2002,
   attempted to intentionally cause the death of another, specifically:
       '1
            . ln June 2002, in or around Ramallah, the Defendant met with Abu Mu'az and suggested to him that he should
              execute a tenor attack by laying an explosive device on railroad tracks in the State of lsrael, with the intention of
               causing the death of as many people as possible.
       2. Abu Mu'az contacted Abu Sa'ad and asked him to examine the possibility of executing a terror attack on railroad
              tracks in lsrael. Afier some time, Abu Sa'ad contacted Abu Mu'az and told him that he had found an appropriate
              site for executing the planned terror attack. Abu Mu'az reported this to the Defendant.
       3.     After some time, Abu Mu'az met in Ramallah with the Defendant, who gave to Abu Mu'az materials for the
               construction of an explosive device that could be activated via a cellular phone, for the purpose of executing the
               planned terror attack. ln or around Kharbata Bani Hareth, Abu Mu'az, together with Walid Abdel Aziz Abdel Hadi
               Anias, constructed from the above-named materials an explosive device activated via a cellular phone that he
               had purchased for this purpose in Ramallah.
       4. On or around 06.29.2002, Abu Mu'az transferred the above-named explosive device together with the cellular
               phones to Abu Sa'ad, and explained to the latter how to operate the above-named explosive device.
       S. The electric wires in the said explosive device were not attached and Abu Mu'az attached them in order to prepare
               the explosive device for detonation, doing this before giving the device to Abu Sa'ad.
       6. During the evening of that same day, Abu Sa'ad together with Wsam Sa'id Abbasi drove to Lod and put the
               above-named explosive device on the Lod railroad tracks in a place that had been previously located by Wisam
               Abbasi and Ala'a A-Din Mahmoud Abbasi as an appropriate site for the execution of the planned terrorist attack.
               Afteruards, Abu Sa'ad and \Msam Abbasi retumed to Jerusalem.
        7. ln the early hours of the next morning, 06.30.2002, Abu Sa'ad and Wisam Abbasi drove to Lod. \Nisam Abbasi
               positioned himself next to the explosive device that had been placed on the railway tracks, as said above. Around
               07:00, at the moment that Wisam Abbasi observed a train approaching the said site, he informed Abu Sa'ad, who
               activated the above-named explosive device via cellular phone, with the intention of causing the death of as many
               people as possible.
        8. The above-named explosive device detonated.
        g. As a result of the detonation of the above-named explosive device, four people were injured. Likewise, damage
               was caused to the train engine and the railroad track.
        10. After the above-named terror attack was executed, Abu Mu'az met with Abu Sa'ad, who reported that he and his
               friends had laid the above-named explosive device on the railroad tracks in Lod.


   Fortv-second Count: (Police File 991 3/02 Rehovot)
   Nature of the Offenser Attempt to intentionally cause death, an offense pursuant to Section 51(a) of the Security
   Provisions (Judea and Samaria) Order (No. 378), 5730-1970, and Sections 14(a)(2),19 and 20 of the Criminal Liability
   (Judea and Samaria) Order (No. 225),5728-1968.

   Egjls oflhe_gf1ense:The above-named Defendant, variously inside and outside the Region, on or around 07.21.2002,
   attempted to intentionally cause the death of another, specifically:
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       1. ln July 20O2, in or around Ramallah, the Defendant met with Abu Mu'az and suggested that he execute an
            additional terror attack by putting an explosive device on railroad tracks in the State of lsrael, with the intention of
            causing the death of as many people as possible.
       2. Abu Mu'az contacted Abu Sa'ad, and asked him to find a site for the execution of another terrorist attack on
            railroad tracks in lsrael. After some time, Abu Sa'ad contacled Abu Mu'az and told him that he had found an
            appropriate site for executing the planned tenor attaek. AbU Mu'az ieported this to the Defendaht.
       3. Afler some time, the Defendant met with Abu Mu'az and gave him materials for constructing an explosive device
            activated via cellular phone, for the purpose of carrying out the planned terror attack. ln or around Kharbata Bani
            Hareth, Abu Mu'az, together with Walid Abdel Aziz Abdel Hadi Anjas, constructed tom the above-named
            materials an explosive device activated via a cellular phone that Abu Mu'az had purchased for this purpose in
            Ramallah.


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   SHATSKY- JDO1572-T                                                                                       CONFIDENTIAL
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   SHATSKY-JDo1573-T                                                                       CONFIDENTIAL

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     4. On 07.2O.2OO2, Abu Mu'az gave the above-named explosive device to Walid Abdel Aziz Abdel Hadi Anjas and
              asked the latter to transfer it to Safa. Afieruards, Abu Mu'az came to Safa and met there with Walid Anjas. From
              there, Abu Mu'az and Walid Anjas drove together to Beit lksa.
       5. Abu Mu'az and Walid Anjas traveled in Abu Mu'az's car with Abu Mu'az driving and Walid Anjas sitting in the back
              seat and holding the explosive device in his hands. lt was planned that if Abu Mu'az and Walid Anjas would
              encounter the lsraeli security forces, Walid Anjas would jump from the car with the explosive device and flee from
              the site or throw the explosive device from the car.
       6. ln Beit lksa, Abu Mu'az and Walid Anjas transferred the above-named explosive device together with the cellular
              phones to Abu Sa'ad, and Abu Mu'az explained to the latter how to activate the above-named explosive device.
       7. The electric wires in the above-named explosive device were not attached and Abu Mu'az attached them in order
              to prepare the explosive device for detonation, doing this before he gave the device to Abu Sa'ad.
       8. That same night, Abu Sa'ad, together with Wsam Sa'id Abbasi and Ala'a A-Din Mahmoud Abbasi, drove to the
              Rehovot region and put the above-named explosive device on the railroad tracks near the exit from Rehovot, near
              Kfar Gvirol, the site that been been chosen previously by Abu Sa'ad and Wisam Abbasi. Afterwards, the three
              returned to Jerusalem.
       9. The next day, O7 .21 .2002, in the early morning hours, Abu Sa'ad and Wsam Abbasi drove to the place where
              the above-named explosive device had been placed. Around 07:30, Abu Sa'ad activated the above-named
              explosive device with the intention of causing the death of as many people as possible, after Wsam Abbasi
              reported to him via cellular phone that a hain was coming to the place where the explosive device had been put.
        10. The above-named explosive device detonated. As a result ofthe detonation ofthe explosive device, one petson
              was injured. Likewise, damage was caused to the train engine and the railroad track.


   ErbL!E4!_cou!l!:
   Nature of the Offense: Trafficking in military equipment, an offense pursuant to Section 2 of the Prohibition Against
   Trafficking in Military Equipment (Judea and Samaria) Order (No. 243)' 5728-1968.
   Details of the Offense: The above-named Defendant, within the Region, in the second half of July 2002, approximately a
   week or thereabouts before he executed that which will be described in the next Count of the indictment, trafficked or dealt
   in a different way in military equipment without an authorization signed by the IDF commander in the Region or his
   representative, specifi cally:
   On the above-stated date, in or around Ramallah, the Defendant gave a carton to Abu Mu'az that held an explosive belt,
   S0 bullets and an attache casefull of electricwires, screws and batteries. Abu Mu'az gavethe above-named items toWalid

   Abdel Aziz Abdel Hadi Anjas and asked the latter to hide them.


   Fortv-foufth Gount: (Police File 1197102 Shalem)
   MlCIgt!@fensej-lntentionally causing cleath, an offense pursuant to Section 51 (a) of the Security Provisions (Judea
   and Samaria) Order (No. 378),5730-'1970, and Section 14(a)(2) of the Criminal Liability (Judea and Samaria) Order (No.
   225),5728-1968.
   Details of the Oftense:The above-named Defendant, variously inside and outside the Region, on or around 07 '31.2002'
   intentionally caused the death of another, specifically:
        1   . After the death of a senior operative of Hamas, Salah Shehadeh, in July 2002, the Defendant contacted Abu
               Mu'az and told him of his intention lo a.venge the death of Salah Shehadeh.
        2. Abu Mu'az contacted Abu Sa'ad and asked the latter to locate an appropriate site for executing a terror attack as
               revenge for the death of Salah Shehadeh, with the intention of causing the death of as many people as possible.
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       3. Several days later, Abu Mu'az met again with Abu Sa'ad, wtro told him that he had located an appropriate site for
            execuling a mass terror attack - the Hebrew University of Jerusalem, Mount Scopus campus. Abu Mu'az reported
            to the Defendantregarding the located site.
       4. For the purpose of executing the planned terror attack, Abu Mu'az constructed an explosive device weighing
            approximately 3 kilogram, consisting of three bottles of shampoo full of explosives that were attached to each
            other via wires. He made the explosives for the abov+named explosive device o't of acetone ahd chloroform
            that he had received from the Defondant as well as hydrogen peroxide that he had purchased for this purpose.
            Abu Mu'az attached to the above-named explosive device an activation mechanism made out of a cellular phone.
       5. Afterwards, Abu Mu'az drove together with Walid Abdel Aziz Abdel Hadi Anjas to Beit lksa for the purpose of
            transferring lhe above-named explosive device to Abu Sa'ad so that the latter together with his friends could
            execute thereby the planned terror attack.


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   SHATSKY- JDO1573-T                                                                                CONFIDENTIAL
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   SHATSKY-JDO1S74-T                                                                            CoNFIDENTIAL

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     6. Abu Mu'az and Walid Anjas traveled in Abu Mu'az's car with Abu Mu'az driving and Walid Anjas sitting in the back
              seat and holding the explosive device in his hands. lt was planned that if Abu Mu'az and Walid Anjas would
              encounter the lsraeli security forces, Walid Anjas would jump from the car with the explosive device and flee from
              the site or throw the explosive device from the car.
       7   . ln Beit lksa, Abu Mu'az and Walid Anjas met with Abu Sa'ad. Abu Mu'az gave to Abu Sa'ad the above-named
              explosive device together with two cellular phones, with one phone attached to the explosive device and acting
              as the activation mechanism. Abu Mu'az explained to Abu Sa'ad how to operate the above-named explosive
              device.
       g. On 07.2g.2OO2, Abu Sa'ad, together with Mohamed lshaq Awda, transfened the above-named explosive device
              to Jerusalem. Abu Sa'ad and Mohamed Awda brought the above-named explosive device into the Mount Scopus
              campus of the Hebrew University in Jerusalem. Mohamed Awda knew the place well since he had worked there
              in the past and even used an employee card that had remained in his possession, to enter the said campus'
              Mohamed Ar11rda put the above-named explosive device in the cafeteria located in the Frank Sinatra Building of
              the above-named campus. Afteruards, Abu Sa'acl and Mohamed Awda attempted to activate the above-named
              explosive device via the cellular phone but the explosive device did not detonate due to a fault in it. Afierwards,
              Mohamed Awda returned to the place where he had put the above-named explosive device, collected the
              explosive device, and drove to Beit lksa together with Abu Sa'ad.
       9. AfieMards, on07.29.2002,Abu Mu'az and Walid Anjas met again with Abu Sa'ad. Abu Sa'ad returned the above-
              named explosive device to Abu Mu'az. Abu Sa'ad told Abu Mu'az that he and his friends had put the above-named
              explosive device in the Mount Scopus campus of the Hebrew University of Jerusalem with the intention of causing
              the death of as many people as possible, but the explosive device had not detonated. Abu Sa'ad asked that Abu
              Mu'az repair the above-named explosive device. Abu Mu'az and Walid Anjas transferred the above-named
              explosive device to Kharbata Bani Hareth'
        10. Abu Mu,az repaired the above-named explosive device afier he examined it and discovered that there was a
              problem with the electric wires.
        11. Thenextday, 07.3O.2OO2,AbuMu'azmetagainwithWalidAnjasandtogetherwiththelatter,transferredthe
              above-named explosive device to Beit lksa.
        12. Abu Mu'az and Walid Anjas traveled in Abu Mu'az's car with Abu Mu'az driving and Walid Anjas sitting in the back
              seat and holding the explosive device in his hands. lt was planned that if Abu Mu'az and Walid Anjas would
              encounter the lsraeli security forces, Walid Anjas would jump from the car with the explosive device and flee from
              the site or throw the explosive device from the car.
        13. ln Beit lksa, Abu Mu'az and Walid Anjas met with Abu Sa'ad. Abu Mu'az gave the above-named explosive device
               to Abu Sa'ad. Prior to Abu Mu'az giving the above-named explosive device to Abu Sa'ad, the Defendant altached
               the cellular phone to the device.
           14. That same night, Abu Sa'ad and Mohamed lshaq Awda took the above-named explosive device to Jerusalem
               and hid it between the trees at the Botanical Gardens on the Mount Scopus campus of the Hebrew University.
           15. The next day, 07.31.2002, Abu Sa'ad and Mohamed Awda drove again to the Mount Scopus campus of the
               Hebrew University. Vvhile Abu Sa'ad waited outside, Mohamed Awda entered the campus, collected the above-
               named explosive device and put it in lhe cafeteria in the Frank Sinatra Building in the Mount Scopus campus of
               the Hebrew University. Afler Mohamed Awda left the area of the campus around 13:30 and joined Abu Sa'ad'
               Abu Sa'ad activated the above-named explosive device via cellular phone, with the intention of causing the death
               of as many people as possible. Abu Sa'ad and Mohamed Awda chose to execute the terror attack specifically
               around 14:00 since according to the information gathered by Mohamed Awda there was supposed to be a great
               concentration of people in the above-named cafeteria at this time'
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        16. As a result of the detonation of the explosive device described above, I people were killed, 81 were injured and
            a great deal of property damage was caused.
        17. Wth his actions described above, the Defendant intentionally caused the death of Daphna Spruch of blessed
            memory.


   Forw.liftn count: (poticC File ItgtiozShalem)
   Nature of the Offense: lntentionally causing death, an offense,pursuant to Section 51(a) of the Security provisions (Judea
   and Samaria) Order (No. 378), 5730-1970, and Section 1a@)Q) of the Criminal Liability (Judea and Samaria) Order (No.
   225),5728-1968.
   Details of the Offense: The above-named Defendant, on the date and under the circumstances described in the forty-
   fourlh Count of the indictment, intentionally caused the death of another, specifically:
   On the date and under the circumstances described above, the Defendant intentionally caused the death of Marla Benneft
   of blessed memory.


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   [cut offl Yhouda            To 0046111741               P 15/33
   SHATSKY- JDO1574-T                                                                                  CONFIDENTIAL
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   SHATSKY-JDO157S-T                                                                                    CoNFIDENTIAL

    Page: 14129 To: 022954953                                046111741 From:ADV-SALH-M 13-MAR-2011 17:'t7
   Fortv-sixth Count: (Police File 1197/,02 Shalem)
   Nature of the Offense: lntentionally causing cleath, an offense pursuant to Section 51(a) of the Security Provisions (Judea
   and Samaria) Order (No. 378), 5730-1970, and Section 14(a)(2) of the Criminal Liability (Judea and Samaria) Order (No.
   225),5728-1968.
   Details of the Offense: The above-named Defendant, on the date and under the circumstances described in the forty-
   fourth Count of the indictment, intentionally caused the death of another, specifically:
   On the date and under the circumstances described above, the Defendant intentionally caused the death of Dina Carter
   of blessed memory.


   Fortv-seventh Count: (Police File 1197102 Shalem)
   Nature of the Offense: lntentionally causing death, an offense pursuant to Section 51(a) of the Security Provisions (Judea
   and Samaria) Order (No. 378), 5730-1970, and Section 14(a)(2) of the Criminal Liability (Judea and Samaria) Order (No.
   225),5728-1968.
   elg[lsjttlg!trglgg: The above-named Defendant, on the date and under the circumstances described in the forty-
   fourth count of the indictment, intentionally caused the death of another, specifically:
   On the date and under the circumstances described above, the Defendant intentionally caused the death of Benjamin
   Thomas Blutstein ot blessed memory.


   Fortv-eiohth Count: (Police File 1197102 Shalem)
   Nature of the Offense: lnten1onally causing death, an offense pursuant to Section 51 (a) of the Security Provisions (Judea
   and Samaria) Order (No. 378), 5730-1970, and Section 14(a)(2) of the Criminal Liability (Judea and Samaria) Order (No.
   225),5728-1968.
   Details of the Offense: The above-named Defendant, on the date and under the circumstances described in the forty-
   fourth Count of the indictment, intentionally caused the death of another, specifically:
   On the date and under the circumstances described above, the Defendant intentionally caused the death of Revital
   Barashi of blessed memory.


   @g-ninlh Coun!: (Police File 1'197102 Shalem)
   Nature of the Offense: lntentionally causing death, an offense pursuant to Section 51 (a) of the Security Provisions (Judea
                                                                                                                           (No.
   and Samaria) Order (No. 378), 5730-1970, and Section '14(a)(2) of the Criminal Liability (Judea and Samaria) Order
   225),5728-1968.
   Details of the Offense: The above-named Defendant, on the date and under the circumstances described in the forty-
   fourth count of the indictment, intentionally caused the death of another, specifically:
   On the date and under the circumstances described above, the Defendant intentionally caused the death of David
                                                                                                                       (Diego)

    Ladowski of blessed memory.


   ff!C!          !: (Police File 1197102 Shalem)
    Nature of the Offense: lntentionally causing death, an offense pursuant to Section 51 (a) of the Security Provisions (Judea
    and Samaria) Order (No. 378), 5730-1970, and Section 14(a)(2) of the Criminal Liability (Judea and Samaria) Order (No.
    225),5728-1968.
    Details of the Offense: The above-named Defendant, on the date and under the circumstances described in the forty-
    fourth Count of the indictment, intentionally caused the death of another, specifically:
    On the date and under the circumstances described above, the Defendant intentionally caused the death of Levina
    Shapira of blessed memory.
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   Flftv-first Count: (Pollce File 1197/02 Shalem)
   Nature ofthe Offense: lntentionally causing death, an offense pursuant to Section 51(a) ofthe Security provisions (Judea
   and Samaria) Order (No. 378), 5730-1970, and Section 14(a)(2) of the Criminal Liability (Judea and Samaria) Order (No.
   225),5728-1968.
   DCtailC'bf theOffbnse: The above-named Defendant, on the date and under the circumstances described in the forty-
   fourth Count of the indictment, intentionally caused the death of another, specifically:
   On the date and under the circumstances described above, the Defendant intentionally caused the death ofJanis Ruth
   Coulter of blessed momory.


   Fiftv-second Count: (Police File 1197t02 Shalem)
   Nature of the Offense: lntenlionally causing death, an offense pursuant to Section 51(a) of the Securig provisions (Judea
   and Samaria) Order (No. 378), 5730-1970, and Section 14(a)(2) of the Criminal Liability (Judea and Samaria) Order (No.
   225), 5728-1968.
   Details of the Offense: The above-named Defendant, on the date and under the circumslances clescribed in the forty-
   fourth Count of the indictment, intentionally caused lhe death of another, specifically:
   On the date and under the circumstances described above, the Defendant intentionally caused the death of David Gritz
   of blessed memory.


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   SHATSKY- JDO1575-T                                                                                 CONFIDENTIAL
Case 1:18-cv-12355-MKV-DCF Document 177-25 Filed 05/16/22 Page 121 of 123




   SHATSKY-JD01576-T                                                                                      CoNFIDENTIAL

    Page: 15/29           To:022954953                        046111741 From:ADV-SALH-M 13-MAR-20!1 17:18
   ESL!t!Xt!- l: (Police Fite 1197 t02 Shalem)

   Nature of the Offense: Attempt to intentionally cause death, an offense pursuant to Section 51(a) of the Securi$
   provisions (Judea and Samaria) Order (No. 378), 5730-1970, and Sections 14(a)(2),19 and 20 of the Criminal Liability
   (Judea and Samaria) Order (No. 225), 5728-1968'
   Details of the Offense: The above-named Defendant, on the date and under the circumstances described in the for$-
   fourth Count of the indictment, attempted to intentionally cause the death of another, specifically:
   The above-named Defendant, on the date and under the circumstances described above, attempted to intentionally cause
   the death of as many people as possible. As a result of the detonation of the explosive device that was activated as
   described in the forty-fourth Count of the indictment, 81 peoplewere injured'


   Fiffi-fourth Count: (Police File 9638/02 Rishon Lezion)
   Nature of the Offense: Attempt to intentionally cause death, an offense pursuant to Section 51(a) of the Security
   provisions (Judea and Samaria) Order (No.378),5730-1970, and Sections M(a)(2),19 and 20 of the Criminal Liability

   (Judea and Samaria) Order (No. 225),5728-1968'
   Details of the Offense: The above-named Defendant, either inside the Region or outside it, on or around 08.07 2002'
   attempted to intentionally cause the death of another, specifically:
        1   . At the beginning of August 2002, Abu Sa'ad conlacted Abu Mu'az and asked him for an explosive device. Abu
              Sa'ad explained to Abu Mu'az that he intended to put the explosive device under a car and blow it up with the
              intention of causing the death of as many lsraeli civilians as possible.
       2. Abu Muaz contacted the Defendant and asked if he could get an explosive device for the purpose of executing
              the planned terror attack. Several days later, in or around Ramallah, the Defendant transferred to Abu Mu'az an
              explosive device hidden in a juice carton as well as a remote control for activating the above-named explosive
               device. The Dofendant showed Abu Mu'az how to operate the above-named explosive device
        3.     On that clay, 08.06.2002, Abu Mu'az together with Walid Abdel Aziz Abdel Hadi Anjas drove to Beit lksa while in
               possession of the above-named explosive device.
        4. Abu Mu'az and Walid Anjas traveled in Abu Mu'az's car with Abu Mu'az driving and Walid Anjas sitting in the back
               seat and holding the explosive device in his hands. lt was planned that if Abu Mu'az and Walid Anjas would
               encounter the lsraeli security forces, Walid Anjas would jump from the car with the explosive device and flee from
               the site or throw the explosive device from the car.
        S. ln Beit lksa, Abu Mu'az and Walid Anjas met with Abu Sa'ad and gave him the above-named explosive device
               with the remote control. Abu Mu'az explained to Abu Sa'ad how to operate the above-named explosive device.
                                                                                                                         prepare
        6.     The electric wires in the said explosive device were not attached and Abu Mu'az attached them in order to
               the explosive device for detonation, doing this before giving the device to Abu Sa'ad.
        7   . On the next day ,08.07.2002, Abu Sa'ad and Wisam Sa'id Abbasi attached the above-named explosive device to
               a fuel tanker, license plate number 3388300, that was parked in or around the Pisgat Ze'ev neighborhood of
               Jerusalem. Several hours later, around 13:50, Abu Sa'ad activated the above-named explosive device via.cellular
               phone, with the intention of causing the death of as many people as possible. The device that had been put on
               the said fuel tanker exploded. lt exploded when the fuel tanker was in a garage on 23 Shmotkin Street in Rishon
               LeZion.
        B. As a result of the detonation of the above-named explosive device, damage was caused to the fuel tanker and
               only by a miracle was no one injured
        g. Two days later, Abu Mu'az met gain with Abu Sa'ad, who told Abu Mu'az that he and his friends had put the
               above-named explosive device under a vehicle with the goal of blowing it up, with the intention of causing the
               death of as many civilians as possible, but the above-named explosive device didn't explode.
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         10. lmmediately afler this, Abu Mu'az met with the Defendant and reported to the latter on the failure of the planned
               terror attack.


   Fiftv-fifth Count:
   Nature of the Offense: Attempt to intentionally cause death, an offense pursuant to Section 51(a) of lhe Security
   Provisions (Judea and Samaria) Order (No. 378), 5730-1970, and Sections 14(a)(2),19 and 20 of the Criminal Liability
   (J udea and Samaria) Order (No. 225), 57 28- 1 968.

   Details of the Offense: The above-named Defendant, within the Region, on or around the first half of August 2002,
   attempted to intentionally cause the dealh of another, specifically:
        1. On the above-stated date, the Defendant met wtih Abu Mu'az and told him that he wanted to execute an
               addilional terror attack with the intention of causing the death of as many civilians as possible, to avenge the
               death of a senior member of Hamas, Salah Shehadeh. The Defendanttold Abu Mu'az that he had seen on
               television that there was


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   SHATSKY- JDO1576-T                                                                                    CONFIDENTIAL
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   SHATSKY-JD01577-T                                                                                     coNFIDENTIAL
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           a club called Tzavta in Tel-Aviv and asked him to check the place and gather information in preparation for
           executing a terror attack at the said club.
     2. The Defendantasked Abu Mu'az to purchase in hydrogen peroxide in Julani's store in Beit Hanina for the purpose
           of making explosives. Abu Mu'az even received from the Defendant the sum of N1S2,200 for the purpose of
           purchasing the above-named items. Abu Mu'az contacted Abu Sa'ad and asked the latter to purchase the above-
           named chemical materials.
     3. The next day, Abu Sa'ad met again with Abu Mu'az and said that Julani's store was not in Beit Hanina but in A-
           Ram. Abu Mu'az told this to the Defendant, who asked that Abu Mu'az purchase in the said store by way of a
           third party 60 liters of hydrogen peroxide, 3-5 liters of paint and bicarbonate of soda in sacks, with all the above-
           named materials meant for making explosives. Abu Mu'az contacted Julani's store in A-Ram by phone and
           requested lhe above-named chemical materials. Abu Mu'az decided with the owner of the above-named store,
           Ahmad Julani, that Abu Mu'az would come on Sunday to take the above-named chemical materials.
      4.   Abu Mu'az contacted Mohamed Lutfi Mohamed Ashqar and asked the latter to bring the above-named chemical
           materials from Julani's store in A-Ram to Ramallah. After Mohamed Ashqar agreed, Abu Mu'az gave him the sum
           of N1S2,200 which he had received from the Defendant, as said above'
      S. Afier approximately a week, Mohamed Ashqar brought 60 liters of hydrogen peroxide from the above-named
           store to Abu Mu'az in Ramallah. Abu Mu'az paid Mohamed Ashqar NlS70 for his services. Abu Mu'az transferred
           40 liters of the above-named hydrogen peroxide to the Defendant.
      6. Afterwards, in Kharbatha Bani Hareth, Abu Mu'az together with Walid Abdel Aziz Abdel Hadi Anjas, made
           explosives out of the rest of the above-named hydrogen peroxide.
      7. For the purpose of executing the planned terror attack, Abu Mu'az, together with Walid Anjas, in or around
           Kharbata Bani Hareth, constructed an explosive device consisting of two shampoo bottles full of the above-named
           explosives. Abu Mu'az and Walid Anjas prepared an activation mechanism made from a cellular phone that Abu
           Mu'az had purchased for this purpose in Ramallah, for the purpose of attaching the activation mechanism to the
           above-named device.
      8. Afterwards, on 08.17.2002, Abu Mu'az, together with Walid Anjas, drove to Beit lksa with the above-named
           explosive device. Abu Mu'az and Walid Anjas traveled in Abu Mu'az's car with Abu Mu'az driving and Walid Anjas
           sitting in the back seat and holding the explosive device in his hands. lt was planned that if Abu Mu'az and Walid
           Anjas would encounter the lsraeli security forces, Walid Anjas would jump from the car with the explosive device
           and flee from the site or throw the explosive device from the car'
      9. ln Beit lksa, Abu Mu'az and Walid Anjas met with Abu Sa'ad. Abu Mu'az asked that Abu Sa'ad gather information
           in preparation for the planned terror attack in the Tzavta Club in Tel-Aviv, and gave Abu Sa'ad the above-named
           explosive device for the purpose of executing the terror attack. Abu Mu'az wrote down on a piece of cardboard
                                                                                                                          phone
           the name "Tzavta Club" (in Arabic) and gave it to Abu Sa'ad. He also gave him the number of the cellular
           that was attached to the above-named explosive device, when dialing the number would activate the above-
            named explosive device.
      10. Abu Sa'ad told Abu Mu'az that it was also possible to execute the planned terror attack in a restaurant that was
            at Masmiya Junction (Re'em Junction).
      11. The planned terror attack was not carried out because during the night after the meeting with Abu Mu'az, Abu
            Sa'ad was arrested by the lsraeli security services. Abu Mu'az was also arrested by the security services on
            08.18.2002.


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